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                                       #:6156


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  11
                             UNITED STATES DISTRICT COURT
  12                        CENTRAL DISTRICT OF CALIFORNIA
  13                              SOUTHERN DIVISION

  14 SERENA FLEITES,                         CASE NO. 2:21-CV-04920-CJC-ADS
  15               Plaintiff,
                                             DISCOVERY DOCUMENT:
  16         v.                              REFERRED TO MAGISTRATE
                                             JUDGE AUTUMN D. SPAETH
  17 MINDGEEK S.A.R.L.; MG
     FREESITES, LTD; MINDGEEK                NOTICE OF MOTION AND
  18 USA INCORPORATED; MG                    PLAINTIFF’S MOTION TO COMPEL
     PREMIUM LTD.; MG GLOBAL                 DEFENDANT DAVID TASSILLO’S
  19 ENTERTAINMENT INC.; 9219-               RESPONSES TO PLAINTIFF’S FIRST
     1568 QUEBEC, INC.; BERND                REQUEST FOR PRODUCTION OF
  20 BERGMAIR; FERAS ANTOON;                 DOCUMENTS AND
     DAVID TASSILLO; COREY                   INTERROGATORIES
  21 URMAN; VISA INC.; COLBECK               Date: March 8, 2023
     CAPITAL DOES 1-5;                       Time: 10:00 a.m.
  22 BERGMAIR DOES 1-5                       Courtroom: 6B
  23               Defendants.               Jurisdictional Discovery Cutoff:
                                             May 1, 2023
  24
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                                                              CASE NO. 21-CV-04920-CJC-ADS
       NOTICE OF MOTION AND PLAINTIFF’S MOTION TO COMPEL DEFENDANT DAVID TASSILLO’S
       RESPONSES TO PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND
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   1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
   2         PLEASE TAKE NOTICE that on March 8, 2023, at 10:00 a.m., or as soon
   3 thereafter as the matter may be heard, in the courtroom of the Honorable Autumn D.
   4 Spaeth, located at the Ronald Reagan Federal Building and United States Courthouse,
   5 Courtroom 6B, 411 West Fourth Street, Santa Ana, CA 92701, Plaintiff Serena Fleites
   6 (“Plaintiff”) will move the Court for an Order compelling defendant David Tassillo
   7 to respond to discovery and produce documents pursuant to Rules 33 and 34 of the
   8 Federal Rules of Civil Procedure.
   9         Plaintiff brings this motion pursuant to Rules 26, 33, 34, and 37 of the Federal
  10 Rules of Civil Procedure; Local Rule 37-2, and this Court’s July 2018 Standing
  11 Orders on Discovery Disputes.
  12         In accordance with L.R. 7-3 and 37-1, counsel for Plaintiff and Defendant
  13 David Tassillo conferred by telephone on December 15, 2022 and January 6, 2023.
  14         Plaintiff bases this motion on this Notice, the Parties’ Joint Stipulation
  15 regarding this discovery dispute, the pleadings and papers on file in this action, and
  16 on such other evidence as may be submitted to the Court. Plaintiff submits a proposed
  17 order with this application.
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  20 Dated: February 8, 2023
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   1                                 JOINT STIPULATION
   2 I.      THE PARTIES’ PRELIMINARY STATEMENTS
   3         A.     Plaintiff’s Preliminary Statement
   4         This Court ordered the MindGeek Defendants, including the Individual
   5 Defendants, to submit to jurisdictional discovery, (Dkt. 167, at 1), specifically
   6 identifying the following areas of relevant inquiry: “where the money flows in the
   7 Mindgeek web,” which entities or individuals exercise operational control over the
   8 MindGeek entities that monetized Plaintiff’s child sexual abuse material (“CSAM”),
   9 and whether these individuals and entities are alter egos of each other. (Dkt. 167, at
  10 3 n.2, 4-7). Consistent with this Order, Plaintiff served discovery requests tracking
  11 the precise categories of information this Court held to be relevant to its jurisdictional
  12 analysis on the MindGeek Entity Defendants, the Individual Defendants, and
  13 defendants’ auditors, third party-Grant Thornton. This Court thereafter affirmed the
  14 relevance of the categories of information Plaintiff seeks and issued letters rogatory
  15 to various Grant Thornton entities seeking the same categories of information that
  16 Plaintiff seeks from defendant Tassillo. See Dkt. 211 at 5-6 (“The Court agrees with
  17 Plaintiff that the information is relevant to the Court’s jurisdictional analysis and
  18 ensures Plaintiff ‘obtains complete and accurate information.’”).
  19         Despite two court orders, Tassillo has stonewalled Plaintiff’s efforts to take
  20 basic jurisdictional discovery, refusing to produce any documents or even to conduct
  21 a search for responsive documents. Tassillo has taken the position that he is not
  22 required to participate in discovery – even to search for documents – because the
  23 Mindgeek Entity Defendants might produce discovery. But this Court has already
  24 rejected the argument that an entity or individual need not participate in discovery
  25 because the information they possess would be duplicative of documents produced by
  26 any other party, Dkt. 211 at 4, and this holding applies with greater force where the
  27 party resisting discovery is a defendant in this action. Moreover, defendant Tassillo
  28 has readily conceded in discovery responses that
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   1
   2                                                                    . See Doyle Decl.,
   3 Exhibit 4, Resp. to ROG No. 1. Accordingly, he likely possesses certain information
   4 that may not also be in the possession of other defendants in this action. Nevertheless,
   5 he has not produced a single document to date.
   6         Tassillo was obligated both to conduct a reasonable search for responsive
   7 documents and to state in his responses whether he is withholding any responsive
   8 materials on the basis of any of his stated objections. The Court has already confirmed
   9 that the individual defendants are part of jurisdictional discovery. See Dkt. 167 at 7
  10 (rejecting Individual Defendants’ argument that jurisdictional discovery was
  11 unwarranted and ordering Individual Defendants to submit to discovery, in part, based
  12 on finding that Plaintiff “has alleged facts bearing on the MindGeek Individual
  13 Defendants’ direction of specific policies pursuant to which Plaintiff was harmed”).
  14 This Court should Order Tassillo to produce documents in response to Plaintiff’s
  15 RFPs 1-30, 32-42, 46, 49, and 52 and to supplement his responses to Plaintiff’s ROGs
  16 2, 3, 4, and 6.1
  17         B.    Defendant’s Preliminary Statement
  18         David Tassillo is the former COO of MindGeek. He left his position in or about
  19 June 2022, months before Plaintiff issued her discovery requests.            See Sack
  20 Decl. ¶ 18. The MindGeek Entities collected Mr. Tassillo’s MindGeek business
  21 emails and data associated with messaging applications that Mr. Tassillo used for
  22 MindGeek business, including mobile data such as text messages and messaging
  23 applications, as we have advised Plaintiff. See Sack Decl ¶ 18. The MindGeek
  24 Entities’ searches for responsive documents and productions to date have
  25 encompassed those materials as well as all other corporate records and emails. See
  26
  27
      Plaintiff reserves her right to further move to this Court for any of the remaining
       1


  28 RFPs or ROGs which have not been fully responded to by Defendant Tassillo.
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   1 Sack Decl ¶ 18. Therefore, as Plaintiff is aware, the only possible unique sources for
   2 documents from Mr. Tassillo—rather than materials the MindGeek Entities have and
   3 are reviewing for production—are his personal emails, which have been searched by
   4 counsel for possible relevance to personal jurisdiction. See Sack Decl. ¶¶ 18-19.
   5 Unsurprisingly, to date no responsive documents were located as a result of that
   6 search.
   7         Despite the limited scope of jurisdictional discovery, Plaintiff served 60
   8 overbroad discovery requests on Mr. Tassillo and the other defendants; Plaintiff
   9 admits that those requests sought merits discovery (in addition to addressing certain
  10 jurisdictional issues).   Even after the Court rejected her efforts to seek merits
  11 discovery in this phase, Plaintiff refused to narrow even a single one of her document
  12 requests or interrogatories. She now seeks to compel Mr. Tassillo to respond to 52 of
  13 her 60 patently overbroad requests.
  14         Plaintiff’s motion to compel should be denied for three principal reasons.
  15         First, Plaintiff has not meaningfully engaged in the meet-and-confer process as
  16 required by L.R. 37-1. Most importantly, following the January 11, 2023 hearing on
  17 Plaintiff’s motion to compel the MindGeek Entities, Plaintiff reached out to counsel
  18 for Bernd Bergmair, Feras Antoon, David Tassillo, and Corey Urman (collectively,
  19 the “Individual Defendants,”) expressing a willingness to meet and confer. See Sack
  20 Decl. ¶ 22, Ex. P. During a phone call following the email exchange, counsel for one
  21 of the Individual Defendants conveyed to Plaintiff that if she could identify the
  22 specific categories of documents that were relevant and of greatest significance to her,
  23 it would be helpful for discussion and could narrow the issues under dispute, and
  24 counsel for Plaintiff said he would take that request back to his colleagues. See Sack
  25 Decl. ¶ 21. On January 18, counsel for the Individual Defendants wrote to Plaintiff,
  26 stating the following:
  27         As noted in our call and my email, I continue to believe it would be
  28         constructive to identify and itemize the specific materials the plaintiff
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   1         is seeking from individual defendants regarding personal jurisdiction.
   2         We understand that you and your colleagues shared an itemized list of
             material that plaintiff is seeking from the entity defendants. We urge
   3         you to share something comparable with counsel for individual
   4         defendants. We will certainly consider it carefully and seek to reach
   5         agreement with you, if possible. Please let us know if you wish to
             continue the meet and confer process.
   6
   7 See Sack Decl. ¶ 22, Ex. P. Later that day, Plaintiff responded: “yes – we should
   8 confer further to try to reach agreements. Back in touch shortly.” See Sack Decl. ¶
   9 22, Ex. P. But Plaintiff never contacted defense counsel to confer further. Instead,
  10 two weeks later, on February 1, 2023, Plaintiff emailed her portion of a joint
  11 stipulation (without any additions from the stipulation she initially served on
  12 December 23, 2022) on a motion to compel each Individual Defendant to respond to
  13 nearly all of her overbroad discovery requests as written, without any narrowing
  14 constructions. Most recently, on February 2, 2023, Plaintiff rejected yet another
  15 invitation from the Individual Defendants to meet and confer. See Sack Decl. ¶ 24,
  16 Ex. R. That alone warrants a denial of Plaintiff’s motion. (See Section IV(A)(1) for
  17 Mr. Tassillo’s arguments on these points).
  18         Second, Plaintiff seeks mainly corporate records created and maintained by
  19 MindGeek, such as company financial statements, corporate tax returns, board
  20 minutes and document preservation policies, or company emails—all documents (if
  21 they exist) that MindGeek has and Mr. Tassillo, as a former employee, does not have
  22 access to or control over. Notably, Plaintiff is seeking to compel the same company
  23 records from MindGeek, and such requests are appropriately directed at the company.
  24 As an illustration of Plaintiff’s indiscriminate approach to discovery, Plaintiff’s RFP
  25 No. 16, seeks from Mr. Tassillo all documents of each and every MindGeek affiliate
  26 reflecting capitalization, revenues, profits, tax payments, distributions, dividends,
  27 shareholder agreements, lender agreements, as well as profit and loss statements,
  28 balance sheets, tax records, payroll records and expense records. See also, RFP Nos.:
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  1 2, 3, 6, 7, 8, 9, 13, 15, 17, 19, 20-29, and 35. (See Section IV(A)(2) at pp. 59-68 for
  2 Mr. Tassillo’s arguments on these points).
  3         Third, Plaintiff’s requests far exceed the scope of the jurisdictional discovery
  4 authorized by the Court. The Court’s July 29, 2022 Order (Sack Decl. ¶ 1, Ex. A,
  5 Dkt. 167) permitted jurisdictional discovery of Mr. Tassillo and the other individual
  6 defendants on two possible theories of personal jurisdiction. The Court first noted
  7 that, although the Amended Complaint offered only “scattershot” and “conclusory”
  8 allegations which gave the Court “some concern that Plaintiff is merely guessing at
  9 who bears responsibility” for MindGeek CSAM policies (id. at 5-6), Plaintiff could
 10 take jurisdictional discovery regarding the Individual Defendants’ roles in directing
 11 or implementing specific MindGeek CSAM polices pursuant to which Plaintiff was
 12 harmed. Id. at 6. In addition, the Court noted that, although Plaintiff’s allegations
 13 were “conclusory, vague, and indeed, quite difficult to follow at times,” she could
 14 take jurisdictional discovery to determine if she had “a workable alter ego theory” to
 15 impute the contacts of the MindGeek corporate entities who concede jurisdiction to
 16 the Individual Defendants. Id. at 6. More recently, the Court recognized that where
 17 jurisdictional discovery has been authorized, “jurisdictional discovery requests must
 18 still be tailored to seek discovery that relates to an opposing party’s jurisdictional
 19 contacts.” See Sack Decl. ¶ 23, Exhibit Q, Dkt. No. 260 (Feb. 3, 2023, Order on
 20 Plaintiff’s Motion to Compel).
 21         Plaintiff repeatedly states that Mr. Tassillo has refused to conduct a search. She
 22 is wrong: Mr. Tassillo has already searched for and agreed to produce documents in
 23 his possession, if any, related to the subjects on which jurisdictional discovery was
 24 authorized. Mr. Tassillo agreed to produce materials in his possession relating to
 25 directing or implementing MindGeek’s CSAM policies or any communications
 26 concerning Plaintiff Serena Fleites. Diligent searches for those materials on Mr.
 27 Tassillo’s personal email account have not found any responsive documents for
 28 Serena Fleites, and searches will continue with respect to CSAM policies. Copies of
                                             7                 CASE NO. 21-CV-04920-CJC-ADS
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  1 Mr. Tassillo’s business-related text messages and other mobile messaging
  2 communications are in the possession of the MindGeek Entities and Mr. Tassillo. The
  3 MindGeek Entities have conducted searches of Mr. Tassillo’s business-related text
  4 messages and other mobile messaging communications and did not find any
  5 communications pertinent to the issues of personal jurisdiction identified by the
  6 Court.
  7          With respect to alter ego, Mr. Tassillo’s interrogatory responses provide
  8 information regarding his ownership interest in MindGeek, and Plaintiff has received
  9 over 7,000 pages of detailed financial and corporate information from the MindGeek
 10 Entities which explain the structure and flow of money. This discovery provides
 11 sufficient information on the subjects relevant to the alter ego theory Plaintiff was
 12 permitted to explore.
 13          The discovery Plaintiff seeks from Mr. Tassillo is simply not relevant or
 14 proportional under Rule 26. For instance, RFP No. 18, seeks, for an eight-year period,
 15 all personal “monthly, quarterly and annual bank and investment statements” of Mr.
 16 Tassillo (RFP No. 18), with no limitation that they relate to MindGeek or Plaintiff’s
 17 causes of action. Plaintiff also seeks from each Individual Defendant his list of
 18 contacts, without regard to whether they are business or personal, or have anything at
 19 all to do with MindGeek. These requests amount to a fishing expedition that goes far
 20 beyond the scope of the authorized jurisdictional discovery. Fed. R. Civ. P.
 21 26(b)(2)(C)(i) calls for limiting discovery when it is “unreasonably cumulative or
 22 duplicative or can be obtained from some other source that is more convenient, less
 23 burdensome, or less expensive.” (See Sections IV(A)(4)-(6) for Mr. Tassillo’s
 24 arguments on these points).
 25          Plaintiff’s motion to compel as to Mr. Tassillo should be denied, as we explain
 26 in more detail below.
 27
 28
                                             8              CASE NO. 21-CV-04920-CJC-ADS
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  1 II.    JOINT SPECIFICATION OF ISSUES IN DISPUTE
  2        A.    Requests for Production in Dispute
  3        Request for Production No. 1: “All documents and communications concerning
  4        Serena Fleites.”
  5
  6        Response to Request for Production No. 1: “Mr. Tassillo objects to this Request
  7        on the grounds that it overbroad, unduly burdensome and to the extent it seeks
  8        information beyond Mr. Tassillo’s present knowledge, possession, custody or
  9        control. Mr. Tassillo further objects to this Request to the extent it seeks
 10        information unrelated to personal jurisdiction or outside the scope of the
 11        jurisdictional discovery permitted by the Court’s July 29, 2022 Order. Mr.
 12        Tassillo also objects to this Request to the extent it assumes that
 13        “communications” are “jurisdictional contacts” or are relevant to the question
 14        of whether the Court has personal jurisdiction over Mr. Tassillo. Mr. Tassillo
 15        further objects to this Request on the basis that it is duplicative of information
 16        already sought by Plaintiff from the MindGeek Corporate Defendants.
 17
 18        Subject to and without waiving any and all objections, Mr. Tassillo states that
 19        he had no communications with Serena Fleites. He acknowledges his obligation
 20        to update this response if warranted.”
 21
 22        Request for Production No. 2: “All documents and communications concerning
 23        or relating to Your affiliation with, employment by, or ownership of MindGeek,
 24        any MindGeek Related Entity, or any MindGeek Tubesites.”
 25
 26        Response to Request for Production No. 2: “Mr. Tassillo objects to this Request
 27        on the grounds that it overbroad, unduly burdensome and to the extent it seeks
 28        information beyond Mr. Tassillo’s present knowledge, possession, custody or
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  1        control. Mr. Tassillo further objects to this Request to the extent it seeks
  2        information unrelated to personal jurisdiction or outside the scope of the
  3        jurisdictional discovery permitted by the Court’s July 29, 2022 Order. Mr.
  4        Tassillo further objects that the undefined term “affiliation” is vague and
  5        ambiguous. Mr. Tassillo further objects to this Request on the basis that it is
  6        duplicative of information already sought by Plaintiff from the MindGeek
  7        Corporate Defendants.
  8
  9        Subject to and without waiving any and all objections, Mr. Tassillo refers
 10        Plaintiff to and incorporates herein his Response to Interrogatory No. 1 and
 11        agrees to meet and confer should there be remaining questions on this topic.”
 12        (footnote omitted).
 13
 14        Request for Production No. 3: “All documents and communications concerning
 15        or reflecting any income, revenue, or other monies You have received from
 16        MindGeek, any MindGeek Related Entity, or any MindGeek Tubesites.”
 17
 18        Response to Request for Production No. 3: “Mr. Tassillo objects to this Request
 19        on the grounds that it overbroad, unduly burdensome and to the extent it seeks
 20        information beyond Mr. Tassillo’s present knowledge, possession, custody or
 21        control. Mr. Tassillo further objects to this Request to the extent it seeks
 22        information unrelated to personal jurisdiction or outside the scope of the
 23        jurisdictional discovery permitted by the Court’s July 29, 2022 Order, and is
 24        not limited to the entities which are parties to this lawsuit. Mr. Tassillo objects
 25        to this Request on the basis that it is duplicative of information already sought
 26        by Plaintiff from the MindGeek Corporate Defendants.”
 27
 28        Request for Production No. 4: “All documents and communications between
                                           10              CASE NO. 21-CV-04920-CJC-ADS
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  1        and among You and any of the Defendants related to this Action.”
  2
  3        Response to Request for Production No. 4: “Mr. Tassillo objects to this Request
  4        on the grounds that it overbroad, unduly burdensome and to the extent it seeks
  5        information beyond Mr. Tassillo’s present knowledge, possession, custody or
  6        control. Mr. Tassillo further objects to this Request to the extent it seeks
  7        information unrelated to personal jurisdiction or outside the scope of the
  8        jurisdictional discovery permitted by the Court’s July 29, 2022 Order. Mr.
  9        Tassillo also objects to this Request to the extent that it seeks information that
 10        can be obtained from a more convenient and less expensive source, namely,
 11        MindGeek Corporate Defendants.”
 12
 13        Request for Production No. 5: “All documents and communications between
 14        and among You and any of the Defendants related to the presence of any CSAM
 15        on any MindGeek site, any MindGeek Related Entity site, or any MindGeek
 16        Tubesites.”
 17
 18        Response to Request for Production No. 5: “Mr. Tassillo objects to this Request
 19        on the grounds that it overbroad, unduly burdensome and to the extent it seeks
 20        information beyond Mr. Tassillo’s present knowledge, possession, custody or
 21        control. Mr. Tassillo further objects to this Request to the extent it seeks
 22        information unrelated to personal jurisdiction or outside the scope of the
 23        jurisdictional discovery permitted by the Court’s July 29, 2022 Order, and is
 24        not limited to the entities which are parties to this lawsuit. Mr. Tassillo also
 25        objects to this Request on the basis that it is duplicative of information already
 26        sought by Plaintiff from the MindGeek Corporate Defendants.”
 27
 28        Request for Production No. 6: “All documents describing, depicting,
                                       11            CASE NO. 21-CV-04920-CJC-ADS
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  1        explaining, or relating to the past or present corporate and ownership
  2        organization and structure of MindGeek, the identity of all affiliated or related
  3        party entities, corporations, limited partnerships, limited liability companies,
  4        partnerships, or other entities; the nature of the direct, indirect or beneficial
  5        ownership or other interests held by any such person, entity, or organization;
  6        and the owners, members, directors, managers, lenders, secured parties, general
  7        or limited partners, executives, and outside law firms and accountants of such
  8        entities.”
  9
 10        Response to Request for Production No. 6: “Mr. Tassillo objects to this Request
 11        on the grounds that it overbroad, unduly burdensome and to the extent it seeks
 12        information beyond Mr. Tassillo’s present knowledge, possession, custody or
 13        control. Mr. Tassillo further objects to this Request to the extent it seeks
 14        information unrelated to personal jurisdiction or outside the scope of the
 15        jurisdictional discovery permitted by the Court’s July 29, 2022 Order. Mr.
 16        Tassillo objects to this Request on the basis that it is duplicative of information
 17        already sought by Plaintiff from the MindGeek Corporate Defendants. Mr.
 18        Tassillo further refers Plaintiff to the MindGeek Corporate Defendants
 19        Response to Interrogatory No. 1 and the documents to be produced by the
 20        MindGeek Corporate Defendants in response to Plaintiff’s Request No. 5 to the
 21        MindGeek Corporate Defendants.”
 22
 23        Request for Production No. 7: “All documents related to any past or present,
 24        direct, indirect, or beneficial ownership, lending, or secured or other economic
 25        interest in, or business relationship with, MindGeek or any MindGeek Related
 26        Entity by You or any of the other Individual Defendants, Colbeck Capital, JP
 27        Morgan Chase, Fortress Investment Group, Cornell, Bjorn Daniel Sudan, or
 28        Shaileshkumar P. Jain (a/k/a “Sam” Jain) or individuals or entities introduced
                                            12                CASE NO. 21-CV-04920-CJC-ADS
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  1        or represented by such persons or entities.”
  2
  3        Response to Request for Production No. 7: “Mr. Tassillo objects to this Request
  4        on the grounds that it overbroad, unduly burdensome and seeks information
  5        beyond Mr. Tassillo’s present knowledge, custody or control. Mr. Tassillo
  6        further objects to this Request to the extent it seeks information unrelated to or
  7        outside the scope of the jurisdictional discovery permitted by the Court’s July
  8        29, 2022 Order, and is not limited to the entities which are parties to this
  9        lawsuit. Mr. Tassillo further objects to this Request on the basis that it is
 10        duplicative of information already sought by Plaintiff from the MindGeek
 11        Corporate Defendants. Mr. Tassillo further refers Plaintiff to the MindGeek
 12        Corporate Defendants Response to Interrogatory No. 1 and the documents to
 13        be produced by the MindGeek Corporate Defendants in response to Plaintiff’s
 14        Request No. 5 to the MindGeek Corporate Defendants.
 15
 16        Subject to and without waiving all objections, Mr. Tassillo refers Plaintiff to
 17        and incorporates herein his Response to Interrogatory No. 1 and agrees to meet
 18        and confer should there be remaining questions on this topic.”
 19
 20        Request for Production No. 8: “All documents related to any past or present,
 21        direct, indirect or beneficial ownership, licensing, or secured or other economic
 22        interest of, or in, any intellectual property owned or licensed, directly or
 23        indirectly by You related to MindGeek, any MindGeek Related Entity, or any
 24        MindGeek Tubesites.”
 25
 26        Response to Request for Production No. 8: “Mr. Tassillo objects to this Request
 27        on the grounds that it overbroad, unduly burdensome and to the extent it seeks
 28        information beyond Mr. Tassillo’s present knowledge, possession, custody or
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  1        control. Mr. Tassillo further objects to this Request to the extent it seeks
  2        information unrelated to personal jurisdiction or outside the scope of the
  3        jurisdictional discovery permitted by the Court’s July 29, 2022 Order, and is
  4        not limited to the entities which are parties to this lawsuit or intellectual
  5        property related to either Pornhub or the claims at issue in this litigation. Mr.
  6        Tassillo further objects to this as duplicative of information already sought
  7        from the MindGeek Corporate Defendants. Mr. Tassillo further refers Plaintiff
  8        to the documents to be produced by the MindGeek Corporate Defendants in
  9        response to Plaintiff’s Request No. 4 to the MindGeek Corporate Defendants.”
 10
 11        Request for Production No. 9: “All documents describing, depicting,
 12        explaining, or relating to MindGeek’s past or present internal organizational
 13        structure, offices, departments, executives, and personnel.”
 14
 15        Response to Request for Production No. 9: “Mr. Tassillo objects to this Request
 16        on the grounds that it overbroad, unduly burdensome and to the extent it seeks
 17        information beyond Mr. Tassillo’s present knowledge, possession, custody or
 18        control. Mr. Tassillo further objects to this Request to the extent it seeks
 19        information unrelated to personal jurisdiction or outside the scope of the
 20        jurisdictional discovery permitted by the Court’s July 29, 2022 Order, and is
 21        not limited to the entities which are parties to this lawsuit. Mr. Tassillo further
 22        objects that the phrase “internal organizational structure” is vague and
 23        ambiguous. Mr. Tassillo objects to this Request on the basis that it is
 24        duplicative of information already sought by Plaintiff from the MindGeek
 25        Corporate Defendants. Mr. Tassillo further refers Plaintiff to the MindGeek
 26        Corporate Defendants Response to Interrogatory No. 1 and the documents to
 27        be produced by the MindGeek Corporate Defendants in response to Plaintiff’s
 28        Request No. 5 to the MindGeek Corporate Defendants.”
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  1        Request for Production No. 10: “All documents identifying all MindGeek or
  2        outside personnel or vendors with any current or past responsibility for
  3        moderating,    monitoring,    formatting,    optimizing,   filtering,   reviewing,
  4        screening, or removing content on any MindGeek platform or website, the
  5        entities they were retained and employed by, and the entities that they were
  6        compensated by, whether salary, bonus or otherwise.”
  7
  8        Response to Request for Production No. 10: “Mr. Tassillo objects to this
  9        Request on the grounds that it overbroad, unduly burdensome and to the extent
 10        it seeks information beyond Mr. Tassillo’s present knowledge, possession,
 11        custody or control. Mr. Tassillo further objects to this Request to the extent it
 12        seeks information unrelated to personal jurisdiction or outside the scope of the
 13        jurisdictional discovery permitted by the Court’s July 29, 2022 Order, and is
 14        not limited to the entities which are parties to this lawsuit. Mr. Tassillo further
 15        objects on the grounds that terms “outside personnel” and “vendors” is vague
 16        and ambiguous. Mr. Tassillo further objects to the extent this Request is not
 17        limited to Pornhub, the only tubesite on which Plaintiff alleges content
 18        depicting her was uploaded. Mr. Tassillo objects to this Request on the basis
 19        that it is duplicative of information already sought by Plaintiff from the
 20        MindGeek Corporate Defendants.”
 21
 22        Request for Production No. 11: “All documents and communications relating
 23        to Your or MindGeek’s past or present jurisdictional contacts with the United
 24        States or California, including but not limited to, offices, residences, and real
 25        estate located in California or any jurisdiction in the United States.”
 26
 27        Response to Request for Production No. 11: “Mr. Tassillo objects to this
 28        Request on the grounds that it overbroad, unduly burdensome and to the extent
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  1        it seeks information beyond Mr. Tassillo’s present knowledge, possession,
  2        custody or control. Mr. Tassillo also objects to this Request to the extent it
  3        assumes that any of the contacts identified in this Request are “jurisdictional
  4        contacts” or that the actions or contacts of MindGeek are relevant to the issue
  5        of whether the Court has personal jurisdiction over Mr. Tassillo. Mr. Tassillo
  6        further objects to the extent it assumes officers, residences, and real estate
  7        located in California or any jurisdiction are relevant “jurisdictional contacts” in
  8        this action. Mr. Tassillo also objects to this Request to the extent that it seeks
  9        information that can be obtained from a more convenient and less expensive
 10        source, namely, MindGeek Corporate Defendants.
 11
 12        Subject to and without waiving any and all objections, Mr. Tassillo refers
 13        Plaintiff to and incorporates herein his Response to Interrogatory No. 4, and
 14        agrees to meet and confer should there be remaining questions on this topic.”
 15
 16        Request for Production No. 12: “All documents and communications relating
 17        to Your or MindGeek’s personnel or vendors employed, retained, paid, located
 18        in, or otherwise providing services in California or any jurisdiction in the
 19        United States; political activities in California or any jurisdiction in the United
 20        States, including through direct or indirect participation in, or financial support
 21        for, lobbying, trade, or industry, or activist organizations; trips to California or
 22        any jurisdiction in the United States; servers; revenues, profits, expenses, taxes
 23        earned or paid in or from California or any jurisdiction in the United States;
 24        and communications or business relationships with, to, from, or in California
 25        or any jurisdiction in the United States.”
 26
 27        Response to Request for Production No. 12: “Mr. Tassillo objects to this
 28        Request on the grounds that it overbroad, unduly burdensome and to the extent
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  1        it seeks information beyond Mr. Tassillo’s present knowledge, possession,
  2        custody or control. Mr. Tassillo further objects to this Request to the extent it
  3        seeks information unrelated to personal jurisdiction or outside the scope of the
  4        jurisdictional discovery permitted by the Court’s July 29, 2022 Order. Mr.
  5        Tassillo further objects to the extent it assumes trips to California or any other
  6        jurisdiction are relevant “jurisdictional contacts” in this action. Mr. Tassillo
  7        also objects to this Request to the extent that it seeks information that can be
  8        obtained from a more convenient and less expensive source, namely,
  9        MindGeek Corporate Defendants.
 10
 11        Subject to and without waiving any and all objections, Mr. Tassillo refers
 12        Plaintiff to and incorporates herein his Response to Interrogatory No. 4, and
 13        agrees to meet and confer should there be remaining questions on this topic.”
 14
 15        Request for Production No. 13: “All documents reflecting annual revenues,
 16        profits and losses, and expenses for each MindGeek Related Entity or
 17        MindGeek Tubesite or the entity that owns or controls that platform or
 18        website.”
 19
 20        Response to Request for Production No. 13: “Mr. Tassillo objects to this
 21        Request on the grounds that it overbroad, unduly burdensome and to the extent
 22        it seeks information beyond Mr. Tassillo’s present knowledge, possession,
 23        custody or control. Mr. Tassillo further objects to this Request to the extent it
 24        seeks information unrelated to personal jurisdiction or outside the scope of the
 25        jurisdictional discovery permitted by the Court’s July 29, 2022 Order, and is
 26        not limited to the entities which are parties to this lawsuit. Mr. Tassillo further
 27        objects to the extent this Request is not limited to Pornhub, the only tubesite on
 28        which Plaintiff alleges content depicting her was uploaded, or to MG Freesites
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  1        Ltd, the entity that operates Pornhub. Mr. Tassillo objects to this Request on
  2        the basis that it is duplicative of information already sought by Plaintiff from
  3        the MindGeek Corporate Defendants. Mr. Tassillo further refers Plaintiff to the
  4        documents to be produced by the MindGeek Corporate Defendants in response
  5        to Plaintiff’s Request No. 5 to the MindGeek Corporate Defendants.”
  6
  7        Request for Production No. 14: “All documents concerning, reflecting,
  8        describing, or relating to, or comprising of presentations to or from, proposed
  9        transactions from, or data and information provided or made available to, any
 10        actual or potential investors, lenders, secured parties, licensees, purchasers, or
 11        others concerning MindGeek or any MindGeek Related Entity.”
 12
 13        Response to Request for Production No. 14: “Mr. Tassillo objects to this
 14        Request on the grounds that it overbroad, unduly burdensome and to the extent
 15        it seeks information beyond Mr. Tassillo’s present knowledge, possession,
 16        custody or control. Mr. Tassillo further objects to this Request to the extent it
 17        seeks information unrelated to personal jurisdiction or outside the scope of the
 18        jurisdictional discovery permitted by the Court’s July 29, 2022 Order, and is
 19        not limited to the entities which are parties to this lawsuit. Mr. Tassillo further
 20        objects on the grounds that the term “or others” is vague and ambiguous. Mr.
 21        Tassillo objects to this Request on the basis that it is duplicative of information
 22        already sought by Plaintiff from the MindGeek Corporate Defendants. Mr.
 23        Tassillo further refers Plaintiff to the MindGeek Corporate Defendants
 24        Response to Interrogatory No. 3 and the documents to be produced by the
 25        MindGeek Corporate Defendants in response to Plaintiff’s Request No. 9 to the
 26        MindGeek Corporate Defendants.”
 27
 28        Request for Production No. 15: “All transaction documents, term sheets, and
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  1         communications concerning any actual or proposed transactions involving the
  2         ownership of, loans to, secured interest in, or intellectual property or other
  3         rights related to MindGeek.”
  4
  5         Response to Request for Production No. 15: “Mr. Tassillo objects to this
  6         Request on the grounds that it overbroad, unduly burdensome and to the extent
  7         it seeks information beyond Mr. Tassillo’s present knowledge, possession,
  8         custody or control. Mr. Tassillo further objects to this Request to the extent it
  9         seeks information unrelated to personal jurisdiction or outside the scope of the
 10         jurisdictional discovery permitted by the Court’s July 29, 2022 Order, and is
 11         not limited to the entities which are parties to this lawsuit. Mr. Tassillo further
 12         objects on the grounds that the term “other rights” is vague and ambiguous. Mr.
 13         Tassillo objects to this Request on the basis that it is duplicative of information
 14         already sought by Plaintiff from the MindGeek Corporate Defendants. Mr.
 15         Tassillo further refers Plaintiff to the documents to be produced by the
 16         MindGeek Corporate Defendants in response to Plaintiff’s Request No. 4 to the
 17         MindGeek Corporate Defendants.”
 18
 19         Request for Production No. 16: “For each MindGeek entity, affiliate,
 20         subsidiary, or related entity, all financial, ledgers; shareholder, investor,
 21         director, member, manager, or partner lists; board presentation materials, board
 22         minutes, and calendars of board meetings or conferences; records reflecting
 23         capitalization, revenues, profits, tax payments, distributions or dividends, and
 24         distribution or dividend recipients for such entities; articles of incorporation or
 25         formation, by-laws, shareholder and lender agreements; profit and loss, balance
 26         sheet, tax, payroll, and expense records; and records reflecting the sources of
 27         all payments made to or on behalf of the entity, affiliate, subsidiary, or related
 28         entity.”
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  1        Response to Request for Production No. 16: “Mr. Tassillo objects to this
  2        Request on the grounds that it overbroad, unduly burdensome and to the extent
  3        it seeks information beyond Mr. Tassillo’s present knowledge, possession,
  4        custody or control. Mr. Tassillo further objects to this Request to the extent it
  5        seeks information unrelated to personal jurisdiction or outside the scope of the
  6        jurisdictional discovery permitted by the Court’s July 29, 2022 Order, and is
  7        not limited to the entities which are parties to this lawsuit. Mr. Tassillo objects
  8        to the phrase “records reflecting the sources of all payments made to or on
  9        behalf of the entity, affiliate, subsidiary, or related entity” as vague and
 10        ambiguous. Mr. Tassillo objects to the production of financial ledgers, lists of
 11        investors or managers, lender agreements, payroll and expense records, and
 12        sources of payments as unrelated to any claim in this case or to personal
 13        jurisdiction. Mr. Tassillo objects to this Request on the basis that it is
 14        duplicative of information already sought by Plaintiff from the MindGeek
 15        Corporate Defendants. Mr. Tassillo further refers Plaintiff to the documents to
 16        be produced by the MindGeek Corporate Defendants in response to Plaintiff’s
 17        Request No. 11 to the MindGeek Corporate Defendants.”
 18
 19        Request for Production No. 17: “For each MindGeek Entity, affiliate,
 20        subsidiary, or Related Entity, all quarterly and annual tax filings, audits,
 21        financials, and statutory reporting, including work papers and reports of its
 22        outside accountants.”
 23
 24        Response to Request for Production No. 17: “Mr. Tassillo objects to this
 25        Request on the grounds that it overbroad, unduly burdensome and to the extent
 26        it seeks information beyond Mr. Tassillo’s present knowledge, possession,
 27        custody or control. Mr. Tassillo further objects to this Request to the extent it
 28        seeks information unrelated to personal jurisdiction or outside the scope of the
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  1        jurisdictional discovery permitted by the Court’s July 29, 2022 Order. and is
  2        not limited to the entities which are parties to this lawsuit. Mr. Tassillo objects
  3        to the production of quarterly tax filings, audits, statutory reporting and any
  4        work product or reports prepared by outside accountants. Mr. Tassillo further
  5        refers Plaintiff to the documents to be produced by the MindGeek Corporate
  6        Defendants in response to Plaintiff’s Request No. 12 to the MindGeek
  7        Corporate Defendants.”
  8
  9        Request for Production No. 18: “Your monthly, quarterly, and annual bank and
 10        investment statements.”
 11
 12        Response to Request for Production No. 18: “Mr. Tassillo objects to this
 13        Request on the grounds that it overbroad, unduly burdensome and to the extent
 14        it seeks information beyond Mr. Tassillo’s present knowledge, possession,
 15        custody or control. Mr. Tassillo further objects to this Request to the extent it
 16        seeks information unrelated to personal jurisdiction or outside the scope of the
 17        jurisdictional discovery permitted by the Court’s July 29, 2022 Order. Mr.
 18        Tassillo objects to the term “investment statement” as vague and ambiguous.
 19        Mr. Tassillo further objects to the production of any work product or reports
 20        prepared by outside accountants.”
 21
 22        Request for Production No. 19: “All documents and communications related to
 23        any corporate reorganization by MindGeek and the purposes behind that
 24        reorganization.”
 25
 26        Response to Request for Production No. 19: “Mr. Tassillo objects to this
 27        Request on the grounds that it overbroad, unduly burdensome and to the extent
 28        it seeks information beyond Mr. Tassillo’s present knowledge, possession,
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  1        custody or control. Mr. Tassillo further objects to this Request to the extent it
  2        seeks information unrelated to personal jurisdiction or outside the scope of the
  3        jurisdictional discovery permitted by the Court’s July 29, 2022 Order. Mr.
  4        Tassillo further objects to this Request on the basis that it is duplicative of
  5        information already sought by Plaintiff from the MindGeek Corporate
  6        Defendants. Mr. Tassillo further refers Plaintiff to the documents to be
  7        produced by the MindGeek Corporate Defendants in response to Plaintiff’s
  8        Request No. 14 to the MindGeek Corporate Defendants.”
  9
 10        Request for Production No. 20: “All documents or communications identifying
 11        the various subsidiaries comprising the business of MindGeek and the
 12        MindGeek Related Entities.”
 13
 14        Response to Request for Production No. 20: “Mr. Tassillo objects to this
 15        Request on the grounds that it overbroad, unduly burdensome and to the extent
 16        it seeks information beyond Mr. Tassillo’s present knowledge, possession,
 17        custody or control. Mr. Tassillo further objects to this Request to the extent it
 18        seeks information unrelated to personal jurisdiction or outside the scope of the
 19        jurisdictional discovery permitted by the Court’s July 29, 2022 Order. Mr.
 20        Tassillo objects to this Request on the basis that it is duplicative of information
 21        already sought by Plaintiff from the MindGeek Corporate Defendants. Mr.
 22        Tassillo further refers Plaintiff to the documents to be produced by the
 23        MindGeek Corporate Defendants in response to Plaintiff’s Request No. 15 to
 24        the MindGeek Corporate Defendants.”
 25
 26        Request for Production No. 21: “All documents identifying the directors,
 27        managers, members, executives, and personnel of the various subsidiaries
 28        comprising the business of MindGeek and any MindGeek Related Entities.”
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  1        Response to Request for Production No. 21: “Mr. Tassillo objects to this
  2        Request on the grounds that it overbroad, unduly burdensome and to the extent
  3        it seeks information beyond Mr. Tassillo’s present knowledge, possession,
  4        custody or control. Mr. Tassillo further objects to this Request to the extent it
  5        seeks information unrelated to personal jurisdiction or outside the scope of the
  6        jurisdictional discovery permitted by the Court’s July 29, 2022 Order, and is
  7        not limited to the entities which are parties to this lawsuit. Mr. Tassillo further
  8        objects to this Request as duplicative of Request No. 6. Mr. Tassillo objects to
  9        this Request on the basis that it is duplicative of information already sought by
 10        Plaintiff from the MindGeek Corporate Defendants. Mr. Tassillo further refers
 11        Plaintiff to the MindGeek Corporate Defendants Response to Interrogatory No.
 12        5.”
 13
 14        Request for Production No. 22: “All documents identifying the companies
 15        organized and existing under the laws of multiple jurisdictions where
 16        MindGeek has assets, operates businesses, or provides services and the nature
 17        of the assets, businesses, or services.”
 18
 19        Response to Request for Production No. 22: “Mr. Tassillo objects to this
 20        Request on the grounds that it overbroad, unduly burdensome and to the extent
 21        it seeks information beyond Mr. Tassillo’s present knowledge, possession,
 22        custody or control. Mr. Tassillo further objects to this Request to the extent it
 23        seeks information unrelated to personal jurisdiction or outside the scope of the
 24        jurisdictional discovery permitted by the Court’s July 29, 2022 Order. Mr.
 25        Tassillo further objects to this Request on the grounds that it is overly broad
 26        and unduly burdensome to the extent it seeks the production of all documents
 27        identifying the “assets, businesses, or services” of all MindGeek entities. Mr.
 28        Tassillo objects to this Request on the basis that it is duplicative of information
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  1        already sought by Plaintiff from the MindGeek Corporate Defendants. Mr.
  2        Tassillo further refers Plaintiff to the MindGeek Corporate Defendants
  3        Response to Interrogatory No. 1.”
  4
  5        Request No. 23: “All documents identifying the entities providing services to
  6        MG Freesites LTD.”
  7
  8        Response to Request for Production No. 23: “Mr. Tassillo objects to this
  9        Request on the grounds that it overbroad (sic) unduly burdensome and to the
 10        extent it seeks information beyond Mr. Tassillo’s present knowledge,
 11        possession, custody or control. Mr. Tassillo further objects to this Request to
 12        the extent it seeks information unrelated to personal jurisdiction or outside the
 13        scope of the jurisdictional discovery permitted by the Court’s July 29, 2022
 14        Order. Mr. Tassillo objects to this Request on the basis that it is duplicative of
 15        information already sought by Plaintiff from the MindGeek Corporate
 16        Defendants.    Mr. Tassillo further refers Plaintiff to the documents to be
 17        produced by the MindGeek Corporate Defendants in response to Plaintiff’s
 18        Request No. 18 to the MindGeek Corporate Defendants.”
 19
 20        Request for Production No. 24: “All documents identifying the bank accounts,
 21        services, payments, written agreements, third parties providing transfer pricing
 22        studies, pricing studies and price ranges, accounting, and tax determinations.”
 23
 24        Response to Request for Production No. 24: “Mr. Tassillo objects to this
 25        Request on the grounds that it overbroad, unduly burdensome and to the extent
 26        it seeks information beyond Mr. Tassillo’s present knowledge, possession,
 27        custody or control. Mr. Tassillo further objects to this Request to the extent it
 28        seeks information unrelated to personal jurisdiction or outside the scope of the
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  1        jurisdictional discovery permitted by the Court’s July 29, 2022 Order. Mr.
  2        Tassillo further objects to this Request as vague and ambiguous as requesting
  3        “the bank accounts, services, payments, written agreements, third parties
  4        providing transfer pricing studies, pricing studies and price ranges, accounting,
  5        and tax determinations” of an unidentified person or entity. Mr. Tassillo objects
  6        to this Request on the basis that it is duplicative of information already sought
  7        by Plaintiff from the MindGeek Corporate Defendants. Mr. Tassillo further
  8        refers Plaintiff to the documents to be produced by the MindGeek Corporate
  9        Defendants in response to Plaintiff’s Request No. 19 to the MindGeek
 10        Corporate Defendants.”
 11
 12        Request for Production No. 25: “All audited financial statements and all related
 13        communications with auditors regarding the same.”
 14
 15        Response to Request for Production No. 25: “Mr. Tassillo objects to this
 16        Request on the grounds that it overbroad, unduly burdensome and to the extent
 17        it seeks information beyond Mr. Tassillo’s present knowledge, possession,
 18        custody or control. Mr. Tassillo further objects to this Request to the extent it
 19        seeks information unrelated to personal jurisdiction or outside the scope of the
 20        jurisdictional discovery permitted by the Court’s July 29, 2022 Order. Mr.
 21        Tassillo objects to this Request on the basis that it is duplicative of information
 22        already sought by Plaintiff from the MindGeek Corporate Defendants. Mr.
 23        Tassillo further refers Plaintiff to the documents to be produced by the
 24        MindGeek Corporate Defendants in response to Plaintiff’s Request No. 20 to
 25        the MindGeek Corporate Defendants.”
 26
 27        Request for Production No. 26: “All documents identifying the distinct legal
 28        entities of MindGeek and any of the MindGeek Related Entities.”
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  1        Response to Request for Production No. 26: “Mr. Tassillo objects to this
  2        Request on the grounds that it overbroad, unduly burdensome and to the extent
  3        it seeks information beyond Mr. Tassillo’s present knowledge, possession,
  4        custody or control. Mr. Tassillo further objects to this Request to the extent it
  5        seeks information unrelated to personal jurisdiction or outside the scope of the
  6        jurisdictional discovery permitted by the Court’s July 29, 2022 Order. Mr.
  7        Tassillo objects to this Request on the basis that it is duplicative of information
  8        already sought by Plaintiff from the MindGeek Corporate Defendants. Mr.
  9        Tassillo further refers Plaintiff to the documents to be produced by the
 10        MindGeek Corporate Defendants in response to Plaintiff’s Request No. 21 to
 11        the MindGeek Corporate Defendants.”
 12
 13        Request for Production No. 27: “All documents related to the support services
 14        MG Global Entertainment has provided.”
 15
 16        Response to Request for Production No. 27: “Mr. Tassillo objects to this
 17        Request on the grounds that it overbroad, unduly burdensome and to the extent
 18        it seeks information beyond Mr. Tassillo’s present knowledge, possession,
 19        custody or control. Mr. Tassillo further objects to this Request to the extent it
 20        seeks information unrelated to personal jurisdiction or outside the scope of the
 21        jurisdictional discovery permitted by the Court’s July 29, 2022 Order. Mr.
 22        Tassillo objects to this Request on the basis that it is duplicative of information
 23        already sought by Plaintiff from the MindGeek Corporate Defendants. Mr.
 24        Tassillo further refers Plaintiff to the documents to be produced by the
 25        MindGeek Corporate Defendants in response to Plaintiff’s Request No. 22 to
 26        the MindGeek Corporate Defendants.”
 27
 28        Request for Production No. 28: “All documents related to the services provided
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  1        by 9219-1568 Quebec Inc.”
  2
  3        Response to Request for Production No. 28: “Mr. Tassillo objects to this
  4        Request on the grounds that it overbroad, unduly burdensome and to the extent
  5        it seeks information beyond Mr. Tassillo’s present knowledge, possession,
  6        custody or control. Mr. Tassillo further objects to this Request to the extent it
  7        seeks information unrelated to personal jurisdiction or outside the scope of the
  8        jurisdictional discovery permitted by the Court’s July 29, 2022 Order. Mr.
  9        Tassillo objects to this Request on the basis that it is duplicative of information
 10        already sought by Plaintiff from the MindGeek Corporate Defendants. Mr.
 11        Tassillo further refers Plaintiff to the documents to be produced by the
 12        MindGeek Corporate Defendants in response to Plaintiff’s Request No. 23 to
 13        the MindGeek Corporate Defendants.”
 14
 15        Request for Production No. 29: “All documents relating to MindGeek related
 16        payments, investments, or loans to, in, or for any personal affairs, expenses,
 17        entities, businesses, real estate, or investments related to You or any of the
 18        Individual Defendants, or any of their family members or entities in which
 19        either You or a family² member holds a direct or indirect interest.”
 20
 21        Response to Request for Production No. 29: “Mr. Tassillo objects to this
 22        Request on the grounds that it overbroad, unduly burdensome and to the extent
 23        it seeks information beyond Mr. Tassillo’s present knowledge, possession,
 24        custody or control. Mr. Tassillo further objects to this Request to the extent it
 25        seeks information unrelated to personal jurisdiction or outside the scope of the
 26        jurisdictional discovery permitted by the Court’s July 29, 2022 Order. Mr.
 27        Tassillo objects to this Request on the basis that it is duplicative of information
 28        already sought by Plaintiff from the MindGeek Corporate Defendants. Mr.
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  1        Tassillo further refers Plaintiff to the documents to be produced by the
  2        MindGeek Corporate Defendants in response to Request No. 24.”
  3
  4        Request for Production No. 30: “All documents related to the purported
  5        resignation of Feras Antoon and You as CEO and COO of MindGeek
  6        respectively, including, but not limited to, any documents related to any
  7        investigation, allegations, or reports of their using Mindgeek assets and monies
  8        for their personal affairs, investments, or businesses.”
  9
 10        Response to Request for Production No. 30: “Mr. Tassillo objects to this
 11        Request on the grounds that it overbroad, unduly burdensome and to the extent
 12        it seeks information beyond Mr. Tassillo’s present knowledge, possession,
 13        custody or control. Mr. Tassillo further objects to this Request to the extent it
 14        seeks information unrelated to personal jurisdiction or outside the scope of the
 15        jurisdictional discovery permitted by the Court’s July 29, 2022 Order, or not
 16        related to the entities which are parties to this lawsuit. Mr. Tassillo objects to
 17        this Request on the basis that it is duplicative of information already sought by
 18        Plaintiff from the MindGeek Corporate Defendants. Mr. Tassillo further
 19        objects to this Request on the grounds it seeks material after the end of the
 20        Relevant Period.”
 21
 22        Request for Production No. 32: “All contact lists maintained by You or any of
 23        the Individual Defendants as well as documents sufficient to show all cell and
 24        other phone numbers and messaging services used by each individual.”
 25
 26        Response to Request for Production No. 32: “Mr. Tassillo objects to this
 27        Request on the grounds that it overbroad, unduly burdensome and to the extent
 28        it seeks information beyond Mr. Tassillo’s present knowledge, possession,
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  1         custody or control. Mr. Tassillo further objects to this Request to the extent it
  2         seeks information unrelated to personal jurisdiction or outside the scope of the
  3         jurisdictional discovery permitted by the Court’s July 29, 2022 Order. Subject
  4         to and without waiving any and all objections, Mr. Tassillo refers Plaintiff to
  5         and incorporates his Response to Interrogatory No. 6, and agrees to meet and
  6         confer should there be remaining questions on this topic.”
  7
  8         Request for Production No. 33: “All documents or communications identifying,
  9         depicting, explaining, or describing any programs or technology MindGeek
 10         acquired, employed, used, or considered to moderate, monitor, format,
 11         optimize, filter, review, screen, or remove content on its websites, including the
 12         dates such technology was acquired, employed, or considered.
 13
 14         Response to Request for Production No. 33: “Mr. Tassillo objects to this
 15         Request on the grounds that it overbroad, unduly burdensome and to the extent
 16         it seeks information beyond Mr. Tassillo’s present knowledge, possession,
 17         custody or control. Mr. Tassillo further objects to this Request to the extent it
 18         seeks information unrelated to personal jurisdiction or outside the scope of the
 19         jurisdictional discovery permitted by the Court’s July 29, 2022 Order. Mr.
 20         Tassillo objects to this Request on the basis that it is duplicative of information
 21         already sought by Plaintiff from the MindGeek Corporate Defendants.”
 22
 23         Request for Production No. 34: “All documents or communications related to
 24         MindGeek’s policies, manuals, practices, processes, and rules for moderating,
 25         monitoring, formatting, optimizing, filtering, reviewing, screening, or
 26         removing content on its platforms and websites, including all prohibited words,
 27         phrases, categories, and “genres” and all processes and reports concerning
 28         search engine optimization of such content.”
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  1        Response to Request for Production No. 34: “Mr. Tassillo objects to this
  2        Request on the grounds that it overbroad, unduly burdensome and to the extent
  3        it seeks information beyond Mr. Tassillo’s present knowledge, possession,
  4        custody or control. Mr. Tassillo further objects to this Request to the extent it
  5        seeks information unrelated to personal jurisdiction or outside the scope of the
  6        jurisdictional discovery permitted by the Court’s July 29, 2022 Order. Mr.
  7        Tassillo objects to this Request on the basis that it is duplicative of information
  8        already sought by Plaintiff from the MindGeek Corporate Defendants.”
  9
 10        Request for Production No. 35: “All documents and communications
 11        describing MindGeek’s policies and procedures for preserving hard copy and
 12        electronic documents and content.”
 13
 14        Response to Request for Production No. 35: “Mr. Tassillo objects to this
 15        Request on the grounds that it overbroad, unduly burdensome and to the extent
 16        it seeks information beyond Mr. Tassillo’s present knowledge, possession,
 17        custody or control. Mr. Tassillo further objects to this Request to the extent it
 18        seeks information unrelated to personal jurisdiction or outside the scope of the
 19        jurisdictional discovery permitted by the Court’s July 29, 2022 Order. Mr.
 20        Tassillo further objects to the extent this Request seeks information protected
 21        by the attorney-client privilege or work product doctrine. Mr. Tassillo objects
 22        to this Request on the basis that it is duplicative of information already sought
 23        by Plaintiff from the MindGeek Corporate Defendants.”
 24
 25        Request for Production No. 36: “All documents and communications reflecting
 26        rosters, schedules, training materials, performance reviews and metrics for
 27        personnel or outside contractors or vendors involved in moderating, formatting,
 28        optimization, filtering, screening, or removing content from MindGeek’s
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  1        platforms and websites.”
  2
  3        Response to Request for Production No. 36: “Mr. Tassillo objects to this
  4        Request on the grounds that it overbroad, unduly burdensome and to the extent
  5        it seeks information beyond Mr. Tassillo’s present knowledge, possession,
  6        custody or control. Mr. Tassillo further objects to this Request to the extent it
  7        seeks information unrelated to personal jurisdiction or outside the scope of the
  8        jurisdictional discovery permitted by the Court’s July 29, 2022 Order. Mr.
  9        Tassillo objects to this Request on the basis that it is duplicative of information
 10        already sought by Plaintiff from the MindGeek Corporate Defendants.”
 11
 12        Request for Production No. 37: “All documents and communications
 13        identifying all content categories, “genres,” or similar descriptors MindGeek
 14        has included, recommended, or offered to users of its platforms and websites.”
 15
 16        Response to Request for Production No. 37: “Mr. Tassillo objects to this
 17        Request on the grounds that it overbroad, unduly burdensome and to the extent
 18        it seeks information beyond Mr. Tassillo’s present knowledge, possession,
 19        custody or control. Mr. Tassillo further objects to this Request to the extent it
 20        seeks information unrelated to personal jurisdiction or outside the scope of the
 21        jurisdictional discovery permitted by the Court’s July 29, 2022 Order. Mr.
 22        Tassillo objects to this Request on the basis that it is duplicative of information
 23        already sought by Plaintiff from the MindGeek Corporate Defendants.”
 24
 25        Request for Production No. 38: “All documents consisting of, or reflecting,
 26        reports, communications, data, or actions related to content reviewed or
 27        screened by any technology, programs, or internal or external personnel
 28        concerning actual or suspected CSAM, nonconsensual, prohibited, or illegal
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  1        content.”
  2
  3        Response to Request for Production No. 38: “Mr. Tassillo objects to this
  4        Request on the grounds that it overbroad, unduly burdensome and to the extent
  5        it seeks information beyond Mr. Tassillo’s present knowledge, possession,
  6        custody or control. Mr. Tassillo further objects to this Request to the extent it
  7        seeks information unrelated to personal jurisdiction or outside the scope of the
  8        jurisdictional discovery permitted by the Court’s July 29, 2022 Order. Mr.
  9        Tassillo objects to this Request on the basis that it is duplicative of information
 10        already sought by Plaintiff from the MindGeek Corporate Defendants.”
 11
 12        Request for Production No. 39: “All documents concerning complaints,
 13        reports, communications, and requests concerning, non-consensual, prohibited,
 14        or illegal content on any MindGeek platform or website,             including all
 15        documents and communications with or concerning any associated
 16        investigation, actions, and internal and external communications concerning
 17        the same.”
 18
 19        Response to Request for Production No. 39: “Mr. Tassillo objects to this
 20        Request on the grounds that it overbroad, unduly burdensome and to the extent
 21        it seeks information beyond Mr. Tassillo’s present knowledge, possession,
 22        custody or control. Mr. Tassillo further objects to this Request to the extent it
 23        seeks information unrelated to personal jurisdiction or outside the scope of the
 24        jurisdictional discovery permitted by the Court’s July 29, 2022 Order. Mr.
 25        Tassillo objects to this Request on the basis that it is duplicative of information
 26        already sought by Plaintiff from the MindGeek Corporate Defendants.”
 27
 28        Request for Production No. 40: “All documents and communications reflecting
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  1        processes, standards, and technologies that MindGeek employed to prevent the
  2        presence of child pornography, CSAM, non-consensual, prohibited, or illegal
  3        content on its platforms or websites; the dates on which such processes,
  4        standards, and technologies were employed; and the people most
  5        knowledgeable about each.”
  6
  7        Response to Request for Production No. 40: “Mr. Tassillo objects to this
  8        Request on the grounds that it overbroad, unduly burdensome and to the extent
  9        it seeks information beyond Mr. Tassillo’s present knowledge, possession,
 10        custody or control. Mr. Tassillo further objects to this Request to the extent it
 11        seeks information unrelated to personal jurisdiction or outside the scope of the
 12        jurisdictional discovery permitted by the Court’s July 29, 2022 Order. Mr.
 13        Tassillo further objects that this Request is not limited to Pornhub, the only
 14        tubesite on which Plaintiff alleges content depicting her was uploaded. Mr.
 15        Tassillo objects to this Request on the basis that it is duplicative of information
 16        already sought by Plaintiff from the MindGeek Corporate Defendants.”
 17
 18        Request for Production No. 41: “All documents and communications reflecting
 19        policies, practices, rules, guidelines, programs, or plans concerning the
 20        moderation, monitoring, review, formatting, analysis or search and social
 21        media use and optimization of content on MindGeek platforms and websites,
 22        including, but not limited to, with respect to content uploaded with associated
 23        languages other than English.”
 24
 25        Response to Request for Production No. 41: “Mr. Tassillo objects to this
 26        Request on the grounds that it overbroad, unduly burdensome and to the extent
 27        it seeks information beyond Mr. Tassillo’s present knowledge, possession,
 28        custody or control. Mr. Tassillo further objects to this Request to the extent it
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  1        seeks information unrelated to personal jurisdiction or outside the scope of the
  2        jurisdictional discovery permitted by the Court’s July 29, 2022 Order. Mr.
  3        Tassillo further objects to the extent this Request seeks documents related to
  4        “content uploaded with associated languages other than English,” as overly
  5        broad because Plaintiff does not allege her content was uploaded with
  6        “associated languages.” Mr. Tassillo objects to this Request on the basis that it
  7        is duplicative of information already sought by Plaintiff from the MindGeek
  8        Corporate Defendants.”
  9
 10        Request for Production No. 42: “All documents and communications
 11        concerning MindGeek’s policies, practices, and compliance related to 18
 12        U.S.C. § 2257.”
 13
 14        Response to Request for Production No. 42: “Mr. Tassillo objects to this
 15        Request on the grounds that it overbroad, unduly burdensome and to the extent
 16        it seeks information beyond Mr. Tassillo’s present knowledge, possession,
 17        custody or control. Mr. Tassillo further objects to this Request to the extent it
 18        seeks information unrelated to personal jurisdiction or outside the scope of the
 19        jurisdictional discovery permitted by the Court’s July 29, 2022 Order. Mr.
 20        Tassillo objects to this Request on the basis that it is duplicative of information
 21        already sought by Plaintiff from the MindGeek Corporate Defendants.”
 22
 23        Request for Production No. 46: “Any internal or external expert or consultant
 24        reports provided to MindGeek concerning its technology, processes, policies,
 25        and practices concerning CSAM, nonconsensual, prohibited, or illegal
 26        content.”
 27
 28        Response to Request for Production No. 46: “Mr. Tassillo objects to this
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  1        Request on the grounds that it overbroad, unduly burdensome and to the extent
  2        it seeks information beyond Mr. Tassillo’s present knowledge, possession,
  3        custody or control. Mr. Tassillo further objects to this Request to the extent it
  4        seeks information unrelated to personal jurisdiction or outside the scope of the
  5        jurisdictional discovery permitted by the Court’s July 29, 2022 Order. Mr.
  6        Tassillo further objects to the extent this Request seeks information protected
  7        by the attorney-client privilege or work product doctrine. Mr. Tassillo objects
  8        to this Request on the basis that it is duplicative of information already sought
  9        by Plaintiff from the MindGeek Corporate Defendants.”
 10
 11        Request for Production No. 49: “All documents or communications concerning
 12        any internal or external review of MindGeek content for CSAM, non-
 13        consensual, prohibited, or illegal content, including, but not limited to, the
 14        review undertaken beginning in or about the end of 2020 and the beginning of
 15        2021 and the review that led to the report to NCMEC that was described in the
 16        June 20, 2022 New Yorker magazine.”
 17
 18        Response to Request for Production No. 49: “Mr. Tassillo objects to this
 19        Request on the grounds that it overbroad, unduly burdensome and to the extent
 20        it seeks information beyond Mr. Tassillo’s present knowledge, possession,
 21        custody or control. Mr. Tassillo further objects to this Request to the extent it
 22        seeks information unrelated to personal jurisdiction or outside the scope of the
 23        jurisdictional discovery permitted by the Court’s July 29, 2022 Order. Mr.
 24        Tassillo objects to this Request on the basis that it is duplicative of information
 25        already sought by Plaintiff from the MindGeek Corporate Defendants.”
 26
 27        Request for Production No. 52: “All documents concerning communications
 28        with the media, news organizations, journalists, legislators, law enforcement,
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  1        regulators, quasi-governmental agencies, media relations companies, the Free
  2        Speech Coalition, 5wPR, or on social media platforms either directly, through
  3        aliases, or through agents, surrogates, or other social media participants
  4        concerning CSAM, non-consensual, prohibited, or illegal content on
  5        MindGeek’s platforms or websites or internal or external news, media or other
  6        reports, allegations, or complaints regarding the same.”
  7
  8        Response to Request for Production No. 52: “Mr. Tassillo objects to this
  9        Request on the grounds that it overbroad, unduly burdensome and to the extent
 10        it seeks information beyond Mr. Tassillo’s present knowledge, possession,
 11        custody or control. Mr. Tassillo further objects to this Request to the extent it
 12        seeks information unrelated to personal jurisdiction or outside the scope of the
 13        jurisdictional discovery permitted by the Court’s July 29, 2022 Order. Mr.
 14        Tassillo objects to this Request on the basis that it is duplicative of information
 15        already sought by Plaintiff from the MindGeek Corporate Defendants.”
 16
 17        B.    Interrogatories in Dispute
 18        Interrogatory No. 2: “Describe in detail each transaction during the Relevant
 19        Time Period in which ownership, shares, indebtedness, secured interests,
 20        options, derivatives, or other capital related transactions occurred involving a
 21        MindGeek Related Entity, and identify the direct and indirect participants in
 22        those transactions.”
 23
 24        Response to Interrogatory No. 2: “Mr. Tassillo objects to this Interrogatory on
 25        the grounds that it is overbroad, unduly burdensome and seeks information
 26        beyond Mr. Tassillo’s present knowledge, custody or control. Mr. Tassillo also
 27        objects on the grounds that phrases “other capital related transactions” and
 28        “indirect participants” are vague and ambiguous. Mr. Tassillo also objects to
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  1         this Interrogatory to the extent that it seeks information that can be obtained
  2         from a more convenient and less expensive source, namely, MindGeek
  3         Corporate Defendants. Mr. Tassillo further objects to this Interrogatory on the
  4         ground that it seeks information unrelated to or outside the scope of the
  5         jurisdictional discovery permitted by the Court’s July 29, 2022 Order. Subject
  6         to the foregoing Specific and General Objections, Mr. Tassillo
  7                                                                        .”
  8
  9         Interrogatory No. 3: “Identify the date, participants, and content for every
 10         presentation or communication of financial or other economic performance to
 11         investors, lenders, or others with direct or indirect financial interests in any
 12         MindGeek Related Entity.”
 13
 14         Response to Interrogatory No. 3: “Mr. Tassillo objects to this Interrogatory on
 15         the grounds that it is overbroad, unduly burdensome and seeks information
 16         beyond Mr. Tassillo’s present knowledge, custody or control. Mr. Tassillo also
 17         objects on the grounds that the phrases “communication of financial or other
 18         economic performance” and “indirect financial interest” are vague and
 19         ambiguous. Mr. Tassillo also objects to this Interrogatory to the extent that it
 20         seeks information that can be obtained from more convenient and less
 21         expensive source, namely, MindGeek Corporate Defendants. Mr. Tassillo
 22         further objects to this Interrogatory on the ground that it seeks information
 23         unrelated to or outside the scope of the jurisdictional discovery permitted by
 24         the Court’s July 29, 2022 Order. Subject to the foregoing Specific and General
 25         Objections, Mr. Tassillo states as follows:
 26
 27
 28
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  6        Interrogatory No. 4: “Describe in detail all direct or indirect jurisdictional
  7        contacts within the relevant jurisdictions, i.e. the United States and California,
  8        that You or Your agents, or any of the MindGeek Related Entities and their
  9        owners, executives, and employees, have or had during the Relevant Time
 10        Period, including but not limited to, offices, residences, and real estate located
 11        in the relevant jurisdictions; personnel or vendors employed, retained, or paid
 12        located in the relevant jurisdictions; trips to the relevant jurisdictions; and
 13        revenues, profits, expenses, taxes earned or paid in or from the relevant
 14        jurisdictions; and communications or business relationships with, to, or in
 15        either of the relevant jurisdictions.”
 16
 17        Response to Interrogatory No. 4: “Mr. Tassillo objects to this Interrogatory on
 18        the grounds that it overbroad, unduly burdensome and seeks information
 19        beyond Mr. Tassillo’s present knowledge, custody or control. Mr. Tassillo also
 20        object on the ground that the phrase “direct or indirect jurisdictional contacts”
 21        is vague and ambiguous; Mr. Tassillo maintains that his limited contact with
 22        California or the United States during the Relevant Time Period does not
 23        support personal jurisdiction over him in this matter. Mr. Tassillo also objects
 24        to this Interrogatory to the extent that it seeks information that can be obtained
 25        from a more convenient and less expensive source, namely, MindGeek
 26        Corporate Defendants. Mr. Tassillo further objects to this Interrogatory to the
 27        extent it seeks information unrelated to or outside the scope of the jurisdictional
 28        discovery permitted by the Court’s July 29, 2022 Order. Subject to the
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  1        foregoing Specific and General Objections, Mr. Tassillo states
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 28        Interrogatory No. 6: “Identify all social media accounts, email accounts, cell
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  1        numbers, text, or other communications services or applications used by the
  2        Individual Defendants directly or through any MindGeek Related Entity during
  3        the Relevant Time Period.”
  4
  5        Response to Interrogatory No. 6: “Mr. Tassillo objects to this Interrogatory on
  6        the grounds that it is vague, ambiguous, overbroad, unduly burdensome and
  7        seeks information beyond Mr. Tassillo’s present knowledge, custody or
  8        control. Mr. Tassillo also objects to this Interrogatory to the extent that it seeks
  9        information that can be obtained from a more convenient and less expensive
 10        source, namely, MindGeek Corporate Defendants. Mr. Tassillo further objects
 11        to this Interrogatory on the ground that it seeks information unrelated to or
 12        outside the scope of the jurisdictional discovery permitted by the Court’s July
 13        29, 2022 Order. Subject to the foregoing Specific and General Objections, Mr.
 14        Tassillo states
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 26 III.   PLAINTIFF’S POSITION
 27        A.    Plaintiff’s Motion To Compel
 28        Pursuant to the Court’s July 29, 2022 Order, Plaintiff served Tassillo with her
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  1 First Set of Interrogatories on August 17, 2022 and her First Requests for Production
  2 of Documents on September 20, 2022. See Doyle Decl., Exhibits 1 and 2. On October
  3 17, 2022 and October 20, 2022, Tassillo served objections and responses to Plaintiff’s
  4 ROGs and RFPs, respectively, see Doyle Decl., Exhibits 4 and 5. Tassillo failed to
  5 respond substantively.2
  6         Throughout the entire time period in which Plaintiff’s CSAM was uploaded,
  7 optimized, disseminated, and capitalized on by the defendants, Tassillo was serving
  8 in various management and executive roles within the MindGeek enterprise,
  9 including service as a Chief Operating Officer, as director and/or manager of a
 10 number of the defendant MindGeek Entities and their supporting subsidiaries, and
 11 that he was an officer for the entity purportedly responsible for content management
 12 services. (See Dkt. 224-8, Exhibit 7, MG Resp. to ROG No. 5; Dkt. 139-3, Andreou
 13 Declaration). He has also conceded in sworn interrogatory responses that ED
 14
 15
 16                                                                  See Doyle Decl., Exhibit
 17 4 at 4, Tassillo Resp. to ROG No. 1; see also Dkt. 139-1 (“MindGeek does not
 18 challenge the court’s jurisdiction over . . . 9219 which acts as a service provider to
 19 Freesites.”). Despite this, and his own admission that
 20                                , see id. at 6, Tassillo Resp. to ROG No. 3, Tassillo has
 21 refused to conduct reasonable searches for, or to produce, relevant communications,
 22
      2
       Mr. Tassillo initially responded to Plaintiff’s ROGs on September 22, 2022, but that
 23
      response was heavily redacted because a protective order had not yet been entered in
 24   the case. See Exhibit 3. Plaintiff therefore did not receive Tassillo’s actual responses
      to Plaintiff’s ROGs until Tassillo provided an unredacted interrogatory response on
 25
      October 17, 2022, with responses designated as “Confidential” pursuant to the
 26   protective order. Plaintiff has filed Tassillo’s response in an unredacted form under
 27   seal, pursuant to the Stipulated Protective Order, Dkt. 187. Tassillo’s response to
      Plaintiff’s production requests contained no such designation and is filed in its
 28   original form.
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  1 information, and documents pertaining to the various roles he played within the
  2 MindGeek enterprise and that are relevant to evaluating jurisdiction. See Doyle Decl.
  3 at 3, ¶ 10.
  4               1.     Tassillo Cannot Avoid Discovery Just Because the MindGeek
  5                      Entity Defendants May Provide Discovery
  6         Tassillo objects to almost every Request on the grounds that the information
  7 sought is “duplicative of information already sought by Plaintiff from the MindGeek
  8 Corporate Defendants” or more easily obtained from another party. See Doyle Decl.
  9 Exh. 4, Def. Tassillo’s Responses to RFP Nos. 1-17, 19-31, 33-54. But this Court
 10 previously held that parties are not relieved of producing responsive documents
 11 because other defendants may produce them. Dkt. 211, at 3-4 (rejecting the argument
 12 that a non-party was relieved of its duty to produce documents that MindGeek might
 13 possess but has not produced); see also Anson v. Weinstein, No. CV 17-8360-GW
 14 (KSX), 2019 WL 6655259, at *4 (C.D. Cal. Aug. 26, 2019) (a party “is not absolved
 15 of [his or her] own obligation to produce the responsive materials regardless of
 16 whether other parties may also produce similar or even identical documents.”) The
 17 Court should similarly reject Tassillo’s objection.
 18               2.     Tassillo Refuses to Produce Documents and Communications
 19                      Concerning Plaintiff
 20         RFP No. 1 seeks production of all documents and communications concerning
 21 Plaintiff that are in Tassillo’s possession, custody, or control. Tassillo sidesteps this
 22 request by recharacterizing it as seeking only his communications with Plaintiff (and
 23 none apparently exists), claiming that his communications concerning Plaintiff are
 24 not relevant to this Court’s jurisdictional analysis.
 25         Documents and communications concerning Plaintiff, who is based in
 26 California, will reveal the extent to which Tassillo communicated about Plaintiff,
 27 directed actions to be taken with respect to Plaintiff’s videos, and played a role in
 28 optimizing and monetizing Plaintiff’s CSAM. The role that Tassillo played in the
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  1 solicitation, optimization, dissemination, and capitalization of Plaintiff’s CSAM is
  2 highly relevant to this Court’s jurisdictional analysis. See Allstar Mktg. Grp., LLC v.
  3 Your Store Online, LLC, 666 F. Supp. 2d 1109, 1120 (C.D. Cal. 2009) (“Courts have
  4 . . . found a corporate officer’s contacts on behalf of a corporation sufficient to subject
  5 the officer to personal jurisdiction where the officer is a primary participant in the
  6 alleged wrongdoing or had control of, and direct participation in the alleged
  7 activities.”) (citing cases). Thus, Tassillo’s communications about this California-
  8 based Plaintiff, the monetization of Plaintiff’s CSAM, and her efforts to have that
  9 content removed is relevant to the exercise of jurisdiction over Tassillo. Tassillo
 10 should be ordered to produce all communications and documents concerning Plaintiff.
 11                3.    Tassillo Disregards this Court’s Rulings Concerning the
 12                      Permissible Scope of Jurisdictional Discovery
 13         Tassillo recites the same boilerplate objections to several of Plaintiff’s
 14 discovery requests. One of those objections is that the requests seek “information
 15 unrelated to or outside the scope of the jurisdictional discovery permitted by the
 16 Court’s July 29, 2022 Order.” But Tassillo is simply ignoring this Court’s clear
 17 direction concerning the permissible scope of jurisdictional discovery.
 18         This Court concluded that “Plaintiff has alleged facts bearing on the MindGeek
 19 Individual Defendants direction of specific policies pursuant to which Plaintiff was
 20 harmed.” (Dkt. 167, at 7; see also id. at 5 (“[T]here are various allegations throughout
 21 the FAC that identify specific MindGeek policies or practices—which were applied
 22 to Plaintiff and her videos—that the MindGeek Individual Defendants allegedly
 23 directed or implemented.”).)       The Court further explained that “[i]t is entirely
 24 plausible that at least one of the MindGeek Individual Defendants—high up as they
 25 were in the MindGeek hierarchy—had substantial involvement in the practices and
 26 policies of one of MindGeek’s major lines of business that harmed Plaintiff.” (Id. at
 27 7.) For example, the Court declared that “operating Pornhub and other MindGeek
 28 sites in a manner that maximizes the profitability of child porn” would qualify as
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  1 “[j]urisdictionally relevant conduct.” (Dkt. 167, at 3 n.2; see also id. at 5 n.5
  2 (recognizing that it would be jurisdictionally relevant if “one or all of the MindGeek
  3 Individual Defendants promulgated a policy of reuploading child porn like Plaintiff’s
  4 videos, to MindGeek’s websites after taking them down”)).
  5        Plaintiff therefore propounded several requests seeking documents that would
  6 reveal Tassillo’s role in setting policies concerning the uploading and monetization
  7 of CSAM on Pornhub and other MindGeek sites. Plaintiff’s RFP Nos. 5, 38-42, 46,
  8 49, and 52 seek documents and communications between Defendant Tassillo, others,
  9 and any Defendant “related to the presence of any CSAM” on MindGeek sites, the
 10 reporting of CSAM, and MindGeek’s policies when CSAM is identified.          Request
 11 Nos. 10, 33-42 concern MindGeek’s practices, policies, procedures, and technologies
 12 used for monitoring, moderating, and removing material from its websites. Finally,
 13 Request No. 30 seeks documents and communications concerning the putative
 14 resignation of Tassillo and his co-defendant, former MindGeek CEO Feras Antoon,
 15 both of whom spent more than a decade in leadership positions with MindGeek,
 16 resigned amid public scrutiny concerning allegations that the MindGeek Entities, and
 17 their officers, directors, and employees, intentionally commercialized and monetized
 18 illegal CSAM and stonewalled efforts to have the content removed, including in the
 19 case of Plaintiff.
 20        These Requests collectively seek, among other things, information related to
 21 Tassillo’s personal involvement in the adoption of policies and procedures concerning
 22 the handling of CSAM, and Tassillo’s role in controlling and directing the various
 23 MindGeek entities’ operations, particularly as it concerns search engine optimization
 24 (SEO) and CSAM, all of which the Court has held is relevant to its jurisdictional
 25 analysis. (Dkt. 167, at 7). Documents responsive to the requests would also reveal
 26 Tassillo’s knowledge and awareness of the prevalence and intentional proliferation of
 27 CSAM on MindGeek’s tubesites, as well as the role that Tassillo played in the
 28 implementation of the policies that allowed for the proliferation of CSAM on
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  1 MindGeek’s tubesites, all of which are relevant jurisdictional considerations. Tassillo
  2 has refused to produce any documents in response to these requests.
  3         Along similar lines, the Court was clear that “[w]here the money flows in the
  4 MindGeek web, which may relate to ownership of the porn sites that generate revenue,
  5 matters to the Court’s jurisdictional analysis.” 3 (Dkt. 167, at 3 n.2). The Court also
  6 recognized that Plaintiff alleged that “the MindGeek Entity Defendants are each
  7 controlled by the MindGeek Individual Defendants, that the MindGeek Individual
  8 Defendants appoint sham directors to the entities which they control in order to
  9 impede investigations, and that the MindGeek Entity Defendants divert money,
 10 possibility to the MindGeek Individual Defendants” (id. at 6 and that “[t]his alleged
 11 flow of money is . . . jurisdictionally relevant” (id. at 6 n.6).
 12         In accordance with this guidance, Plaintiff propounded specific requests
 13 concerning the relationship and purpose of the various MindGeek entities, and their
 14 corporate structure and ownership, as well as Tassillo’s ownership interests in those
 15 entities and his receipt of funds from those entities. See, e,g., RFP Request No. 8
 16 (seeking documents related to Defendant Tassillo’s beneficial ownership of or
 17 economic interest in any MindGeek Related Entity or MindGeek intellectual
 18 property); RFP Request No. 15 (seeking documents related to any transactions
 19 involving the ownership loans to, secured interest in, or intellectual property or other
 20 rights related to MindGeek); RFP Request No. 29 (seeking documents concerning
 21 payments, investments, or loans to or from any MindGeek Entity or the Individual
 22
      3
        The Court, in recognition of Plaintiff’s allegations that her videos were pushed to
 23
      MindGeek’s other tubesites consistent with MindGeek’s pervasive practice,
 24   recognized that “[j]urisdictionally relevant conduct” was not limited to Pornhub but
      included operation of MindGeek’s other sites as well in a manner that maximized the
 25
      profitability of child porn. (Dkt. 167, at 3 n.2; see also id. at 5 n.5). Therefore,
 26   Tassillo’s repeated effort to limit the scope of his responses to Pornhub should be
 27   rejected. (Dkt. 211, at 5 (agreeing with Plaintiff that requests regarding “the [true]
      ownership of porn sites that generated revenue from Plaintiff’s child sexual abuse
 28   material” is relevant to the Court’s jurisdictional analysis) (emphasis added)).
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  1 Defendants); ROG No. 2 (seeking information on ownership, shares, and capital
  2 transactions); RFP Request No. 2 (seeking documents and communications
  3 concerning Tassillo’s affiliation with any MindGeek Related Entity); RFP Request
  4 No. 3 (seeking documents and communications concerning income, revenue, or other
  5 monies that Tassillo received from any MindGeek Related Entity) see also RFP
  6 Request No. 7 (seeking documents concerning business relationships with various
  7 entities, such as Colbeck Capital, JP Morgan Chase, Fortress Investment Group); RFP
  8 Request No. 13 (seeking documents concerning MindGeek entity and tubesite
  9 profits); RFP Request No. 14 and ROG No. 3 (seeking documents concerning or
 10 provided to investors in any MindGeek Related Entity); RFP Request No. 16 (seeking,
 11 among other things, financials, ledgers, and shareholder lists); RFP Request No. 17
 12 (seeking among other things, tax filings, audits, financials, and accounting reports);
 13 RFP Request No. 18 (seeking “Your monthly, quarterly, and annual bank and
 14 investment statements”); RFP Request No. 19 (seeking documents related to any
 15 corporate reorganization by MindGeek); Request No. 20 (seeking documents
 16 identifying MindGeek subsidiaries); RFP No. 21 (seeking documents identifying
 17 directors, managers, members, executives, and personnel of MindGeek subsidiaries);
 18 RFP Request No. 24 (seeking information on, among other things, MindGeek bank
 19 accounts); RFP Request No. 25 (seeking audited financial statements and
 20 communications with auditors); RFP Request Nos. 6, 9, 22-23, 26-28 (seeking
 21 documents relating to the organization and corporate structure of MindGeek). This
 22 Court previously found these categories of documents relevant, so Tassillo should be
 23 ordered to produce them promptly. (Dkt. 211, at 5).
 24         Tassillo also attempts to limit his responses to just the MindGeek Entity
 25 Defendants, rather than the MindGeek Entities as Plaintiff defined them in the
 26 requests. The Court already rejected this limitation. (Dkt. 211, at 6).
 27               4.    Tassillo Refuses to Produce Documents and Sufficient
 28                     Information Relative to His Jurisdictional Contacts
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  1         Tassillo also objects to several Requests that seek information concerning his
  2 connections and activities with California and other jurisdictions in the United States.
  3 See RFP No. 11 and ROG No. 4 (seeking documents and communications related to
  4 Tassillo’s “jurisdictional contacts with the United States or California”); RFP No. 12
  5 (seeking documents and communications related to, among other things “political
  6 activities in California or any jurisdiction in the United States,” “trips to California or
  7 any jurisdiction in the United States, profits, expenses, and taxes paid in or earned
  8 from California or any other United States jurisdiction, and communications or
  9 business relationships with, to, from, or in California or any other United States
 10 jurisdiction). Each of these requests seeks information that is relevant to the Court’s
 11 jurisdictional analysis. Nevertheless, Tassillo has refused to search for a single
 12 document in response to these requests.
 13         Similarly, Tassillo’s response to Interrogatory No. 4 is also deficient. Tassillo
 14 admits
 15                                                   , but he provides only a barebones
 16 explanation of those contacts. Tassillo should be ordered to provide more detail as to
 17                                                                                       . For
 18 each trip, Tassillo should be ordered to identify: (i) the dates of the trip, (ii) the
 19 locations visited, and (iii) the purpose of the visit. Tassillo should also be ordered to
 20 provide adequate detail
 21                                        For each property that he owns or partially owns,
 22 directly or indirectly, Tassillo should identify: (i) the address of each property, (ii) the
 23 date purchased, (iii) the purchase price, (iv) Tassillo’s ownership percentage, and (v)
 24 the date sold (if applicable). Finally, Tassillo should be ordered to provide his tax
 25 returns and the tax returns for the various entities listed in response to Interrogatory
 26 No. 4. See A. Farber & Partners, 234 F.R.D. at 191 (ordering defendant to produce
 27 tax records).
 28         Tassillo also refuses to produce communications with other defendants (RFP
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  1 Request No. 4), even though his relationship with, and control over, entities and
  2 individuals domiciled or doing business in the state of California are relevant to both
  3 the Court’s jurisdictional and alter-ego analyses. See also RFP Request No. 2
  4 (seeking documents and communications concerning Defendant’s affiliation with any
  5 MindGeek Related Entity, including those based in California or other United States
  6 jurisdictions); RFP Request No. 3 (seeking documents and communications
  7 concerning income, revenue, or other monies that Defendant received from any
  8 MindGeek Related Entity, including those based in California or other United States
  9 jurisdictions).
 10         Similarly, in response to Request No. 32 and Interrogatory No. 6, Tassillo
 11 refused to identify or produce contact lists or communication accounts and failed to
 12 identify the usernames and/or related contact information associated D
 13
 14                                     . The identity and locations of the individuals that
 15 Tassillo communicated and worked with in furtherance of the MindGeek’s illegal
 16 trafficking venture and their efforts to conceal and coverup their wrongdoing is highly
 17 relevant. See Dkt. 168 at 7 (“It is entirely plausible that at least one of the MindGeek
 18 Individual Defendants . . . had substantial involvement in the practices and policies
 19 of one of MindGeek’s major lines of business that harmed Plaintiff.”).
 20               5.     Tassillo’s Privacy and Data Protection Objection is Without
 21                      Merit
 22         Tassillo’s refusal to disclose information that could violate a law, rule, or
 23 regulation, for instance because it could require disclosure of information protected
 24 by applicable privacy or data protection laws (RFP General Objection 7 and
 25 Interrogatory General Objection 6), is improper. “The mere existence of a blocking
 26 statute does not preclude an American court from ordering discovery from a foreign
 27 litigant.” Connex R.R. LLC v. AXA Corp. Sols. Assurance, No.: CV 16–02368–ODW
 28 (RAOx), 2017 WL 3433542, at *5 (C.D. Cal. Feb. 22, 2017). “Indeed, the Supreme
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  1 Court has held that ‘[i]t is well settled that such statutes do not deprive an American
  2 court of the power to order a party subject to its jurisdiction to produce evidence even
  3 though the act of production may violate that statute.’” Id. (quoting Société Nationale
  4 v. U.S. Dist. Court for the S. Dist. of Iowa, 482 U.S. 522, 524, 544 n.29 (1987)).
  5 Currently, it is impossible for Plaintiff to assess the propriety of Tassillo’s failure to
  6 disclose information without more specific information. Thus, if Tassillo refuses to
  7 provide documents in full, or redacts documents on the purported basis that he must
  8 do so in compliance with a law, rule, or regulation, Tassillo should be ordered to
  9 submit a log of the withheld information, so Plaintiff can properly assess Tassillo’s
 10 claims.
 11               6.     Tassillo Has Refused to Conduct a Search for Responsive
 12                      Documents
 13         It is black-letter law that, “[u]pon receipt of a properly served request, a
 14 responding party is required to conduct a ‘reasonable search’ for responsive
 15 documents.” Trujillo v. Princess Cruise Lines, Ltd., No. CV 20-7451 JWH (PVCx),
 16 2021 WL 3604518, at *6 (C.D. Cal. Apr. 23, 2021) (emphasis added); Polaris
 17 Innovations Ltd. v. Kingstown Tech. Co., No. CV 16-00300 CJC (RAOx), 2017 WL
 18 3275615, at *2 (C.D. Cal. Feb. 14, 2017); see also A. Farber & Partners, Inc. v.
 19 Garber, 234 F.R.D. 186, 189 (C.D. Cal. 2006) (“[A] party has an obligation to
 20 conduct a reasonable inquiry into the factual basis of his responses to discovery, and,
 21 based on that inquiry, [a] party responding to a Rule 34 production request ... is under
 22 an affirmative duty to seek that information reasonably available to [it] from [its]
 23 employees, agents, or others subject to [its] control.” (citations and quotations
 24 omitted)).
 25         Consistent with this fundamental principle, Rule 34 explicitly requires a
 26 responding party to “state whether any responsive materials are being withheld on the
 27 basis of [an asserted] objection.” Fed. R. Civ. P. 34(b)(2)(C). None of Tassillo’s
 28 responses to Plaintiff’s document requests contains the statement required by Rule
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  1 34(b)(2)(C). During the parties’ meet-and-confer teleconference on December 15,
  2 2022, Tassillo’s counsel confirmed that Tassillo had not conducted a search for
  3 documents, instead claiming he was waiting for this Court to provide clarity in
  4 connection with Plaintiff’s pending motion to compel filed against MindGeek (Dkt.
  5 224) before he would begin a search for responsive documents. See Doyle Decl.,
  6 ¶ 10. Tassillo provides only boilerplate objections.
  7         This Court should require him to conduct a search promptly and to submit to
  8 Plaintiff “declarations or affidavits detailing the nature of his ‘reasonable inquiry’ to
  9 locate responsive documents, and such declarations must address the inquiry he made
 10 on a request-by-request basis.” A. Farber & Partners, 234 F.R.D. at 190 (ordering
 11 this procedure in the face of an “astounding” “paucity” of documents produced by
 12 defendant, which production still involved 600 documents, far more than the zero
 13 documents that Tassillo has produced here).
 14 IV.     TASSILLO’S POSITION
 15         A.    Plaintiff’s Motion to Compel Should Be Denied
 16               1.     Plaintiff’s Motion Should Be Denied for Failure to
 17                      Meaningfully Meet and Confer
 18                      a.    Overview
 19         This motion comes before the Court because of Plaintiff’s insistence on seeking
 20 merits discovery from Mr. Tassillo despite the District Court’s ruling that discovery
 21 at present is limited to the issue of personal jurisdiction. We have asked Plaintiff to
 22 conform her requests to the Court’s ruling, but she has refused. Moreover, Plaintiff
 23 continues to claim that the Individual Defendants have not looked for relevant
 24 documents even after we informed Plaintiff, on multiple occasions, that she is
 25 incorrect.
 26         Plaintiff has been committed to making the present motion long before she first
 27 served this stipulation on the Individual Defendants on December 23, 2022. Nearly
 28 one month before Plaintiff sent a Rule 37-1 letter to the Individual Defendants—and
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  1 thus well before any meet-and-confer could take place—Plaintiff stated on the record
  2 that her motions to compel against the Individual Defendants were “in progress.” 4 By
  3 refusing our repeated efforts to clarify and narrow her merits-focused document
  4 requests, Plaintiff has failed to meaningfully meet and confer with the Individual
  5 Defendants.
  6         Beyond seeking material that vastly exceeds the scope of proper jurisdictional
  7 discovery, Plaintiff also ignores the fact that Mr. Tassillo is a former employee of
  8 MindGeek. As we have repeatedly told Plaintiff, Mr. Tassillo does not have access
  9 to or control over company documents and communications, which is
 10 overwhelmingly what Plaintiff seeks and now purports to be complaining about. As
 11 to the narrow set of information in Mr. Tassillo’s personal possession, we have
 12 reviewed those materials concerning (i) the defendants’ participation in directing or
 13 implementing MindGeek’s CSAM-related policy and (ii) the Plaintiff Serena Fleites.
 14 Accordingly, Plaintiff’s claims of a wholesale failure by Mr. Tassillo to comply with
 15 discovery obligations are simply incorrect, and Plaintiff wrongly insists that the Court
 16 address issues that are not genuinely in dispute. The Court should deny Plaintiff’s
 17 motion and order her to meet and confer with the Individual Defendants in the
 18 substantive and good faith manner required by the Local Rules.
 19
 20
 21
 22   4
       See Sack Decl., Ex. G, November 16, 2022 Hr’g Tr. Re Pl.’s Mot. for Issuance of
      Int’l Judicial Assistance at 6:10-11 (“John Doyle: So the individual Defendants, their
 23
      productions have been due. I’m certain Your Honor next is going to ask where are the
 24   motions to compel and they are in progress.”) On December 5, 2022, Plaintiff sent a
      Rule 37-1 letter to the Individual Defendants. Two days later, before a meet and
 25
      confer was scheduled, on December 7, 2022, Plaintiff noted in a court filing that
 26   “Plaintiffs [sic] will be filing a separate motion to compel the Individual Defendants
 27   to comply with discovery obligations.” See Sack Decl., Ex. J, Pl.’s Supplemental
      Mem. in Supp. of Mot. to Compel Def. MindGeek Entities’ Resps. to Pl.’s First Req.
 28   for Prod. of Docs. at 2 n.1, Dec. 7, 2022, Dkt. 233 (emphasis added).
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  1                      b.    Plaintiff Failed to Meaningfully Meet and Confer
  2        Plaintiff has not engaged in a genuine meet and confer process, as demonstrated
  3 by the following procedural summary.
  4        On July 29, 2022, Judge Carney authorized the parties to conduct jurisdictional
  5 discovery. See Sack Decl. ¶ 2, Ex. C. In authorizing such discovery, the Court
  6 directed Plaintiff and her counsel “to not use this opportunity to further complicate
  7 this case.” Id. at 2. Plaintiff proceeded nonetheless to serve exceedingly broad
  8 discovery requests to the Individual Defendants, well beyond the jurisdictional
  9 discovery ordered.
 10         For example, several requests (both alone and in combination) seek essentially
 11 every piece of paper and every email and electronic record the Individual Defendants
 12 possess related to MindGeek. See e.g., RFP No. 2 (seeking all documents “concerning
 13 … Your affiliation … or ownership of MindGeek”); RFP No. 7 (seeking all
 14 documents related to any “economic interest in, or business relationship with
 15 MindGeek … by You”); RFP No. 9 (seeking all documents “relating to MindGeek’s
 16 past or present … offices, departments, executives and personnel”); RFP No. 22
 17 (seeking all documents identifying MindGeek subsidiaries “and the nature of [their]
 18 assets, businesses and services”); RFP No. 50 (seeking all documents related to the
 19 “distribution of content to any MindGeek [site]”). Plaintiff similarly seeks documents
 20 from Individual Defendants reflecting every penny going in or out of MindGeek to or
 21 from any party for any purpose for an eight-year period, without limitation. See RFP
 22 No. 16 (seeking records regarding “all payments made to or on behalf of [any
 23 MindGeek] entity, affiliate, subsidiary or related entity”); Interrogatory No. 2
 24 (seeking a description “in detail” of every transaction “in which ownership, shares,
 25 indebtedness, secured interests, options, derivatives, or other capital related
 26 transactions occurred” involving MindGeek). Despite the Court’s text order entered
 27 on November 14, 2022 stating that discovery is limited to jurisdictional discovery,
 28 Plaintiff has moved to compel on nearly all of her exceedingly broad discovery
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  1 requests without narrowing any of them. See Dkt. 205.
  2         On September 20, 2022 and October 20, 2022, respectively, the Individual
  3 Defendants timely responded to Plaintiff’s interrogatories and requests for production
  4 of documents. On December 5, 2022, after over a month without communication,
  5 Plaintiff sent a L.R. 37-1 letter to Individual Defendants seeking to immediately meet
  6 and confer. In accordance with L.R. 37-1, on December 15, 2022 the Individual
  7 Defendants met and conferred with Plaintiff.         At this meeting, the Individual
  8 Defendants’ counsel pointed out that Plaintiff had served her extremely broad
  9 discovery requests at a time when she was admittedly seeking merits discovery and
 10 asked if she was willing to narrow any of her requests. Plaintiff said no. Sack Decl.
 11 ¶ 17. The Individual Defendants also requested that Plaintiff hold off filing any
 12 motion to compel, since her motion to compel the MindGeek corporate defendants,
 13 which raised similar issues, was then scheduled to be heard by the Court on December
 14 27, 2022, and the Court’s ruling would potentially resolve or narrow the issues
 15 between Plaintiff and the Individual Defendants. Plaintiff again said no. Id. The
 16 meet-and-confer concluded with Plaintiff’s assurance that she would consider
 17 questions raised by the Individual Defendants and that she would respond accordingly
 18 about open issues. Id. The meet and confer was limited only to the requests for
 19 production of documents and did not include discussions concerning the
 20 interrogatories. On December 16, 2022, the following day, the Court extended the
 21 jurisdictional discovery deadline to May 1, 2023. Dkt. No. 241.
 22         Without any further communication about the open issues after the December
 23 15 meet and confer, on Friday, December 23, Plaintiff served the present motion to
 24 compel on all Individual Defendants, with a deadline for the defendants’ portion of
 25 the joint stipulation of Friday, December 30 and a hearing date of February 1, 2023.
 26         The Individual Defendants then informed Plaintiff that the dispute was not ripe
 27
 28
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  1 for presentation to the Court.5 On January 4, counsel for the Individual Defendants
  2 reached out to Plaintiff to schedule an additional meet and confer in an effort to clarify
  3 and narrow the substantial number of requests at issue. Plaintiff rejected all but one
  4 of Individual Defendants’ proposals, even though the Individual Defendants made the
  5 following points to Plaintiff:
  6            •   First, the Individual Defendants sought to consolidate the four
  7                motions to compel into a single motion. Plaintiff would not
                   agree. Nevertheless, the Individual Defendants have endeavored
  8                in their individual submissions to make substantially the same
  9                arguments, with tailoring to particular circumstances, where
 10                appropriate.

 11            •   Second, the Individual Defendants advised Plaintiff that they
                   presently are no longer MindGeek employees (or never were)
 12                and do not have access to company documents, in particular
 13                company emails.
 14            •   Third, the Individual Defendants informed Plaintiff’s counsel
 15                that they had all begun a diligent search for documents relevant
                   to jurisdictional discovery—contrary to the suggestions of
 16                Plaintiff’s counsel—yet Plaintiff refused (and still refuses) to
 17                amend her assertions in the motion.
 18            •   Fourth, the Individual Defendants requested that the parties wait
 19                to submit the joint stipulation until after the Court had ruled on
                   the motion to compel discovery from the MindGeek Entity
 20                Defendants because certain issues relevant to the Individual
 21                Defendants’ dispute with Plaintiff would be litigated on that
 22                motion.

 23            •   Fifth, the Individual Defendants sought another meet and confer
                   before January 18, which would have had no impact on the
 24                February 8, 2023 hearing date.
 25
 26
 27  Within the same email the Individual Defendants noted that the parties had yet to
      5


    meet and confer on the interrogatories in violation of LR 37-1. See Sack Decl. ¶ 25,
 28 Ex. S.
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  1         In the one area where Plaintiff noted she would consider narrowing the
  2 requests—RFPs 10, 14, 18, 24, 30, 32, and 36, which broadly speaking were the most
  3 obviously non-compliant requests as to Judge Carney’s order—she insisted that the
  4 Individual Defendants memorialize the request in an email, which the Individual
  5 Defendants did on Monday, January 9. However, Plaintiff responded to that email on
  6 Tuesday, January 10, without providing any additional information or narrowing any
  7 requests.
  8         On January 10, Mr. Tassillo and the other Individual Defendants provided
  9 Plaintiff with their portions of the joint stipulation in connection with Plaintiff’s
 10 proposed motion to compel.
 11         On January 11, the Court held a hearing on Plaintiff’s separate motion to
 12 compel the MindGeek corporate defendants, at the conclusion of which the Court
 13 directed the parties to meet and confer further. Following this hearing, and in light of
 14 the Court’s direction to meet and confer on that motion, Plaintiff’s counsel advised
 15 the Individual Defendants that Plaintiff did not intend to file the motions to compel
 16 that day and suggested that the parties meet and confer to see if they could “narrow
 17 or eliminate” any issues in dispute. Sack Decl. ¶ 22, Ex. P.
 18         On behalf of all the Individual Defendants, counsel responded the next
 19 morning, January 12, that they remained “interested in trying to narrow and, if
 20 possible, resolve all or at least some of the open issues,” and proposed a meet and
 21 confer. Sack Decl. ¶ 22, Ex. P.
 22         The following day, January 13, counsel for one of the Individual Defendants
 23 (on behalf of all) had a telephone conference with Plaintiff’s counsel in which defense
 24 counsel reiterated a desire to continue discussions. Sack Decl. ¶ 21. During that call,
 25 the Individual Defendants emphasized that the parties could make significant progress
 26 if Plaintiff would identify specific categories of documents that were relevant and of
 27 greatest significance to her. Id. Counsel for Plaintiff said he would take that request
 28 back to his colleagues. Id.
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  1         As a follow-up from this call, the Individual Defendants proposed a meet-and-
  2 confer for the next business day and noted that they would “like to continue discussing
  3 potential areas of agreement and ways to narrow and clarify the issues that may need
  4 to go to the Magistrate Judge.” Sack Decl. ¶ 22, Ex. P. Plaintiff did not respond to
  5 this email.
  6         Notwithstanding Plaintiff’s lack of a response, the Individual Defendants
  7 contacted Plaintiff again on January 18, asking to “continue the meet and confer
  8 process.” The email noted that “it would be constructive to identify and itemize the
  9 specific materials the plaintiff is seeking,” and urged Plaintiff to provide such a list to
 10 facilitate the parties’ potential discussions. Sack Decl. ¶ 22, Ex. P.
 11         Plaintiff responded that she would “hold off” filing the motions to compel
 12 “today.” Sack Decl. ¶ 22, Ex. P. Plaintiff’s email agreed that “we should confer
 13 further to try to reach agreements,” saying Plaintiff would be “back in touch shortly.”
 14 Id. But Plaintiff did not pursue that effort "to try to reach agreements,” but, rather,
 15 inexplicably reversed course over the next two weeks. Id.
 16         Instead of providing a narrowed list or setting a time to meet and confer, the
 17 next communication from Plaintiff after her January 18, 2023, email was on February
 18 1, when Plaintiff served her portion of the joint stipulation related to the instant motion
 19 to compel. That same day, the Individual Defendants again invited Plaintiff to engage
 20 in a further meet and confer rather than proceed with motion practice, reiterating yet
 21 again their request that, as a starting point for discussions, Plaintiff provide them with
 22 a list of narrowed categories of documents she is seeking. Sack Decl. ¶ 26, Ex. T.
 23 Plaintiff refused even to respond substantively to this request, saying only that it
 24 would proceed with motion practice. Id.
 25         In short, Plaintiff has refused to meaningfully engage in the meet-and-confer
 26 process, as the above facts demonstrate. From the beginning, her approach has been
 27 grossly overbroad and inflexible. Despite the fact that her requests on their face
 28 require production of every piece of paper conceivably in the Individual Defendants’
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  1 possession related to MindGeek – and were admittedly served in furtherance of merits
  2 discovery – Plaintiff has refused to narrow even a single one of her document requests
  3 to the relevant jurisdictional discovery issues authorized by Judge Carney. The
  4 Individual Defendants have repeatedly asked Plaintiff to provide a list of specific
  5 items relevant to jurisdictional discovery that she seeks from these individuals, but
  6 have not been provided with a response, much less a list. Plaintiff has adopted
  7 extreme and impractical positions, asserting, for example, that the Individual
  8 Defendants are required to produce wholly personal information about their finances
  9 and travel that have absolutely nothing to do with MindGeek business, including all
 10 personal financial account records for an eight-year period or information about
 11 whether they ever took a family trip to the United States.
 12        Plaintiff has rebuffed multiple offers by the Individual Defendants to try to
 13 clarify and narrow the matters in dispute, even after the Court emphasized the need to
 14 meet-and-confer at the January 11, 2023, hearing on the motion to compel the
 15 MindGeek Entities.
 16        Plaintiff advised the Court on multiple occasions before the December 15,
 17 2022, and January 6, 2023, meet-and-confers – including once even before she sent
 18 her December 5, 2022, Rule 37-1 letter – that she was already preparing to move to
 19 compel, as noted above. These statements to the Court (made before she had
 20 exchanged even a single word with the Individual Defendants about their discovery
 21 responses)—as well as her extreme and inflexible positions in the parties’ subsequent
 22 meet-and-confers, followed by her refusal to even respond to the defense’s multiple
 23 requests to meet in the last month—make plain that Plaintiff did not engage in good
 24 faith discussions with the Individual Defendants about narrowing her requests to
 25 relevant, non-duplicative materials.
 26        In sum, Plaintiff’s wholesale refusal to engage in discussions with the
 27 Individual Defendants – other than to demand responses to her overbroad, vague, and
 28 admittedly merits-focused discovery requests as written – is not consistent with the
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  1 letter or spirit of Local Rule 37-1 or Federal Rule 26. See Goldwater Bank, N.A. v.
  2 Elizarov, 2022 WL 17078950, at *2 (C.D. Cal. Oct. 7, 2022) (Defendant “asked this
  3 court to rule on a multitude of purported discovery disputes without having made a
  4 full and reasonable effort to resolve these disputes. . . Because the instant motion was
  5 brought without defendant first complying with Local Rule 37-1, the court denies it
  6 without prejudice.”); Rahmatullah v. Charter Commc’ns, LLC, 2021 WL 1593242,
  7 at *3 (C.D. Cal. Mar. 25, 2021) (“Plaintiff’s decision to abandon meet-and-confer
  8 negotiations prematurely and burden the court's time and resources with a 223-page
  9 joint stipulation is not well taken.”); Mulligan v. Nichols, 2013 WL 12124004, at *2
 10 (C.D. Cal. July 12, 2013) (“the Court does not countenance shotgun discovery,
 11 duplicative discovery, or inadequate meet and confer efforts which result in
 12 unnecessary 100-plus page discovery motions”); see also ExxonMobil Oil Corp. v. S.
 13 California Edison Co., 2013 WL 12166215, at *6 (C.D. Cal. Nov. 19, 2013) (“After
 14 further meet and confer, the Motion may, if necessary, be renewed as to any remaining
 15 disputes in these two areas; however, the parties are cautioned that if the Court deems
 16 that the meet and confer process has been inadequate, a further motion will be
 17 summarily denied.”); Acosta v. Austin Elec. Servs. LLC, 324 F.R.D 210, 212 (D. Ariz.
 18 2017) (ordering plaintiff’s counsel to show cause regarding failure to adequately meet
 19 and confer prior to moving to compel).
 20               2.     Plaintiff Improperly Seeks MindGeek Corporate Records
 21                      from Mr. Tassillo And The Other Individual Defendants
 22         Plaintiff insists on proceeding with a motion to compel when her fundamental
 23 problem is one of her own making: she seeks MindGeek corporate documents from
 24 Mr. Tassillo (and other Individual Defendants) when she has also sought virtually the
 25 same corporate documents, and is moving to compel production, from the MindGeek
 26 Entity Defendants (RFP Nos. 1-17, 19-31, 33-54). The MindGeek Entities are the
 27 proper source for these documents, relating to, among other things, emails concerning
 28 Plaintiff; MindGeek’s income, revenue, and other financial information; MindGeek’s
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  1 ownership; and the Individual Defendants’ involvement in directing or implementing
  2 MindGeek’s policies regarding CSAM.           The MindGeek Entities have made a
  3 substantial production relating to these issues, and we understand that additional
  4 document productions will be forthcoming.
  5         Plaintiff seeks a breathtaking array of corporate documents from the Individual
  6 Defendants.     Virtually every one of her 54 document requests seeks corporate
  7 documents that would be created and maintained by MindGeek. Among other topics,
  8 Plaintiff’s requests seek documents regarding: MindGeek’s “corporate and
  9 ownership” structure (Request No. 6); its “organizational structure, offices,
 10 departments, executives and personnel” and all of its subsidiaries, directors,
 11 managers, members and executives (Request Nos. 9, 20, 21, 22, 26); all of its financial
 12 records, including audited financial statements, ledgers, profit and loss statements,
 13 balance sheets, records of revenues and profits, payroll records and expense records
 14 (Request Nos. 12, 16, 17, 25); its quarterly and annual tax filings (Request No. 17);
 15 minutes and presentation materials for its board of directors meetings (Request No.
 16 16); its “intellectual property” (Request Nos. 8, 53, 54); its “IT infrastructure,” data
 17 storage and cloud storage (Request No. 31); its document preservation policies
 18 (Request No. 35); and its agreements with bank and credit card networks (Request
 19 No. 51).
 20         These corporate records are overwhelmingly ones created or maintained by
 21 MindGeek corporate employees—not the Individual Defendants—and to the extent
 22 the Individual Defendants received copies, they were likely sent to them via
 23 MindGeek’s email system. As a former employee, Mr. Tassillo does not have access
 24 to or possession of his MindGeek email. Yet Plaintiff inexplicably insists that the
 25 Individual Defendants are the appropriate parties for these corporate-focused
 26 discovery requests.
 27         In both the December 15, 2022 and January 6, 2023 meet and confers, and in
 28 subsequent email and telephone communications, the Individual Defendants stated
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  1 that it would be more efficient for the parties to identify the responsive documents
  2 MindGeek had to which Plaintiff was entitled, and then limit the universe of
  3 documents sought from the Individual Defendants to any non-duplicative documents
  4 they might possess. In the January 6, 2023 meet and confer, the Individual Defendants
  5 specifically asked if Plaintiff insisted that the Individual Defendants produce identical
  6 copies of the 7,000 pages of corporate documents already produced by MindGeek, if
  7 they had them in their possession.         Plaintiff confirmed that she expected the
  8 production of such duplicative records. See Sack Decl. ¶ 27.
  9         In seeking to burden the Individual Defendants with these requests for
 10 MindGeek’s documents (rather than raising these issues with MindGeek), Plaintiff
 11 relies on the proposition that a party may seek duplicative documents from different
 12 parties. While this may be case in the abstract, Plaintiff ignores the text and spirit of
 13 that Rule 26(b)(2)(C)(i), which specifically requires a court to limit discovery that is
 14 “unreasonably cumulative or duplicative, or can be obtained from some other source
 15 that is more convenient, less burdensome, or less expensive.” Here, seeking corporate
 16 documents from the four Individual Defendants when the same documents are
 17 simultaneously being sought from the MindGeek Entities, is unreasonably duplicative
 18 and inappropriate.
 19         It would plainly be “more convenient” and “less burdensome” to obtain the
 20 documents from MindGeek, which already has produced a substantial number of
 21 corporate documents that definitively describe the financial issues that Plaintiff seeks
 22 to understand. Plaintiff should direct her concerns, if any, regarding MindGeek’s
 23 production of corporate financial information to MindGeek, and her motion to compel
 24 the Individual Defendants to produce materials to which they do not possess. See,
 25 e.g., Williams v. City of Hartford, No. 3:15CV00933(AWT), 2016 WL 1732719, at
 26 *11 (D. Conn. May 2, 2016) (denying motion to compel with respect to plaintiff’s
 27 document request because another defendant was already ordered to produce the
 28 sought-after records); Kleppinger v. Texas Dep't of Transportation, No. CV L-10-
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  1 124, 2012 WL 12893652, at *3 (S.D. Tex. Mar. 12, 2012) (denying motion to compel
  2 individual defendants (current and former employees of the Texas Department of
  3 Transportation) to respond to interrogatories because the interrogatories were
  4 “unreasonably duplicative of discovery requests directed to Defendant [Texas
  5 Department of Transportation]”).
  6         Another reason for Plaintiff to address her requests for MindGeek corporate
  7 records to the company is that many responsive documents are potentially protected
  8 by MindGeek’s attorney-client privilege. The Individual Defendants may not waive
  9 MindGeek’s privileges, and any objections Plaintiff may have to the company’s
 10 privilege claims should be raised with company counsel. Similarly, the corporate
 11 records sought quite likely contain MindGeek’s confidential business information,
 12 which its counsel would have to review for appropriate designation under this Court’s
 13 protective order. See Dkt. 182. Neither of these steps would be necessary if Plaintiff
 14 simply directed her requests for corporate documents from the corporate defendants.
 15         Finally, and as we have explained to Plaintiff, Mr. Tassillo resigned as COO in
 16 or about June 2022, and, as a former employee, he presently lacks access and control
 17 over the vast majority of documents that Plaintiff seeks, including company emails
 18 and records, as noted above. See Tassillo Objections for RFPs. Nos. 1-17, 19-32, 33-
 19 54 (objecting to various requests because they “seek information beyond Mr.
 20 Tassillo’s present knowledge, custody or control”). Mr. Tassillo has searched his
 21 personal emails for documents regarding (i) Plaintiff Serena Fleites and (ii) his
 22 direction or implementation, if any, of MindGeek’s CSAM policies, consistent with
 23 the Court’s orders and has found no responsive documents as to the former category,
 24 and continues to search for documents related to the second category. 6 Mr. Tassillo
 25
 26   According to the Amended Complaint, Ms. Fleites’s content appeared on a
      6


 27 MindGeek website at various times between June 2014 and June 2020. As this Court
    has previously held in this case, “only contacts occurring prior to the event causing
 28
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  1 continues to work with MindGeek counsel to determine if any personal emails and
  2 mobile data (text messages and messaging applications) contain material relevant to
  3 personal jurisdiction.
  4         For all these reasons, Plaintiff’s motion is without merit and, at a minimum,
  5 premature.
  6               3.     Documents and Communications Concerning Plaintiff (RFP.
  7                      No. 1)
  8         Plaintiff seeks all communications “concerning Serena Fleites.” RFP No. 1.
  9 Plaintiff again is not presenting a genuine discovery dispute to the Court. Mr. Tassillo
 10 has conducted a reasonable search for responsive personal emails concerning Serena
 11 Fleites and has not found any documents responsive to this request during the relevant
 12 time period as limited by this Court’s orders and the events alleged in the Amended
 13 Complaint, as noted above. See Sack Decl. ¶ 17.
 14               4.     Plaintiff’s Requests Go Far Beyond Jurisdictional Discovery
 15                      a.       CSAM Policies (RFP Nos. 5, 10, 30, 33-42, 46, 49, 52)
 16         Plaintiff’s document requests regarding CSAM policies exceed the scope of
 17 jurisdictional discovery authorized by the Court. Judge Carney authorized Plaintiff
 18 to take discovery regarding the Individual Defendants’ role in directing or
 19 implementing those policies as a potential basis for specific personal jurisdiction. See
 20 Sack Decl., Ex. A, Dkt. 167 at 5-7. Although Plaintiff argues in this stipulation that
 21 she is entitled to documents regarding the Individual Defendants’ roles in “setting
 22 policies” and the “adoption of policies” regarding CSAM, her requests actually extend
 23 far beyond this. Plaintiff’s requests instead seek a broad range of documents,
 24 including practically any document mentioning CSAM policies, even if they have
 25 nothing to do with any Individual Defendant’s role concerning those policies.
 26
 27
    the litigation may be considered.” Dkt. No. 211 at 3 (citing Farmers Ins. Exch. v.
 28 Portage La Prairie Mut. Ins. Co., 907 F.2d 911, 913 (9th Cir. 1990)).
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  1         Mr. Tassillo has searched for documents in his possession regarding the
  2 directing or implementing of those policies, consistent with Judge Carney’s order.
  3                      b.    Alter Ego (RFP Nos. 2-3, 6-9, 13-29)
  4         Judge Carney recognized that Plaintiff “might also have a workable alter ego
  5 theory pursuant to which she can impute the jurisdictional contacts of the
  6 nonobjecting MindGeek Entity Defendants to the MindGeek Individual Defendants,”
  7 and authorized jurisdictional discovery on potential alter ego claims, even though
  8 Plaintiff’s allegations on this point are “rather conclusory, vague, and indeed, quite
  9 difficult to follow at times.” Sack Decl., Ex. A, Dkt. 167 at 6. The questions on alter
 10 ego are whether “(1) there is such unity of interest and ownership that the separate
 11 personalities of the corporation and the individuals no longer exist” and “(2) failure
 12 to disregard the corporation would result in fraud or injustice.” Symettrica Ent., Ltd.
 13 v. UMG Recordings, Inc., No. LACV1901192CJCKLS, 2019 WL 8806093, at *4
 14 (C.D. Cal. Sept. 20, 2019) (quoting Flynt Distrib. Co., Inc. v. Harvey, 734 F.2d 1389,
 15 1393 (9th Cir. 1984)).
 16         Plaintiff’s discovery, purportedly directed at these alter ego issues, goes far
 17 beyond them and is not reasonable or appropriate. Plaintiff seeks license to conduct
 18 an examination of essentially every financial document of a multi-national
 19 corporation over nearly a decade. As just one example of their 23 requests directed
 20 at this topic, Plaintiff’s RFP No. 16, seeks, among other categories, all documents of
 21 each and every MindGeek affiliate reflecting capitalization, revenues, profits, tax
 22 payments, distributions, dividends, shareholder agreements, lender agreements, as
 23 well as profit and loss statements, balance sheets, tax records, payroll records and
 24 expense records. Plaintiff also seeks documents from the Individual Defendants
 25 reflecting every penny going in or out of MindGeek to or from any other party for any
 26 purpose for an eight-year period, without limitation. See RFP No. 16 (seeking records
 27 regarding “all payments made to or on behalf of [any MindGeek] entity, affiliate,
 28 subsidiary or related entity”).
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  1         Mr. Tassillo does not have this corporate financial information, as we have told
  2 Plaintiff on multiple occasions, and the MindGeek Entity Defendants have already
  3 produced to Plaintiff documents establishing “how the money flows” at MindGeek
  4 and further discovery on this point would not be proportional to the needs of the case
  5 under Rule 26.
  6         A review of Plaintiff’s document requests demonstrates that she has already
  7 been provided with corporate documents regarding the topics she seeks information
  8 about. For example, RFP Nos. 2, 3, 7 and 8 seek information about Mr. Tassillo’s
  9 ownership interest in MindGeek and monies received from the company. Mr. Tassillo
 10 identified in response to interrogatories the exact percentage of his economic interest
 11 in MindGeek, including identifying the entities through which he owned his
 12 MindGeek interest. See Sack Decl., Ex. N, Tassillo ROG Response No. 1. These
 13 documents show the source, amount and recipients of these dividends. Defendants
 14 Antoon and Bergmair similarly provided information regarding their ownership
 15 interests in MindGeek. MindGeek also produced to Plaintiff the 2013 Shareholders’
 16 Agreement (and 2018 amendment) governing the relationship between the
 17 shareholders of MindGeek, and information relating to Mr. Tassillo’s shareholder
 18 distributions.
 19         Plaintiff also makes numerous requests seeking documents regarding
 20 MindGeek’s corporate structure and identifying MindGeek subsidiaries. RFP Nos. 6,
 21 9, 19, 20, 22, 26. MindGeek’s interrogatory responses have explained the ownership
 22 status and structure of each of the MindGeek defendants. Sack Decl., Ex. M, MG
 23 ROG Response No. 1. MindGeek also produced to Plaintiff corporate charts for 2014
 24 through 2021, which show all MindGeek entities, not just the defendant entities. Sack
 25 Decl., Ex. L, Yeary Declaration, Dkt 224-10, ¶8(c).
 26         Further, with respect to MindGeek’s 2018 corporate reorganization, the
 27 company produced documents showing the transfers of assets undertaken in
 28 connection with this reorganization, as well as before and after versions of the
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  1 corporate organizational structure. 7 In addition, at Plaintiff’s request, the Court issued
  2 letters rogatory to multiple Grant Thornton entities which provided audit and
  3 accounting services to MindGeek affiliates. Id. at ¶10(b). MindGeek also produced
  4 certificates of incorporation, by-laws and other corporate filings for numerous
  5 MindGeek entities. Id. at ¶10(k)-(bb).
  6         The MindGeek Entity Defendants also have arranged for a Rule 30(b)(6)
  7 corporate representative located in a foreign country to travel to the United States to
  8 explain MindGeek’s corporate structure, but to date, the Plaintiff has yet to schedule
  9 his deposition.
 10         Plaintiff conspicuously leaves all of this out of her stipulation. She provides
 11 no explanation why audited financial statements prepared by a prominent accounting
 12 firm, detailed internal financial reporting packages presented to the companies’ own
 13 boards, and corporate tax returns filed with the relevant taxing jurisdictions fail to
 14 provide an adequate picture of MindGeek’s finances for purposes of personal
 15 jurisdiction. Plaintiff apparently believes she is entitled to every potential document
 16 that could relate in any way to MindGeek’s finances and, even worse, the personal
 17 finances of each Individual Defendant.
 18         Most intrusive of Plaintiff’s requests consists of RFP No. 18, which seeks, for
 19 an eight-year period, all personal “monthly, quarterly and annual bank and investment
 20 statements” of Mr. Tassillo (RFP No. 18), with no limitation that they relate to
 21 MindGeek or Plaintiff’s causes of action. This request plainly exceeds the scope of
 22 jurisdictional discovery. Application of alter ego responsibility is based on findings
 23 that “the separate personalities of the corporation and the individuals no longer exist”
 24 and “fraud or injustice” results from failing to disregard the corporate form. The vast
 25 and intrusive personal financial information sought from Mr. Tassillo, a minority
 26
 27   In addition, MindGeek will be producing a complete set of the ownership and
      7


    financing documents governing the MindGeek entities and a summary document that
 28 is used by the company to explain the flow of money within the corporate structure.
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  1 shareholder and ex-employee, is not relevant to those issues, which rest on the
  2 financial and other information Plaintiff has already requested and received from the
  3 MindGeek Entities.
  4         Plaintiff is thus seeking to investigate the entire financial life of Mr. Tassillo –
  5 eight years of his personal banking statements, brokerage statements, and personal tax
  6 returns. This request is typical of Plaintiff’s attempt to turn jurisdictional discovery
  7 into a limitless “fishing expedition,” and her disregard for Judge Carney’s admonition
  8 not to “complicate” the case. Dkts. 167 & 168. 8
  9         In short, Defendants have already produced documents and information that
 10 tell Plaintiff “how the money flows” at MindGeek. Requiring the Individual
 11 Defendants to search for additional financial documents — including personal
 12 financial materials and tax returns not relevant to this case, much less within the
 13 bounds of jurisdictional discovery—is not “proportional to the needs of the case”
 14 under Rule 26(a). See Alaska Elec. Pension Fund v. Bank of Am. Corp., No. 14-CV-
 15 7126 (JMF), 2016 WL 6779901, at *3 (S.D.N.Y. Nov. 16, 2016) (“Rule 26(b)(1)’s
 16 proportionality requirement means [the requested documents] ‘marginal utility’ must
 17 also be considered.”); see also Hake v. Citibank, N.A., No. 19MC00125JGKKHP,
 18 2020 WL 1467132, at *6 (S.D.N.Y. Mar. 26, 2020) (limiting discovery on
 19 proportionality grounds because the “need for the documents sought [was] . . .
 20 marginal at best” “[g]iven the marginal relevance of th[e] documents”); Martinez v.
 21 Optimus Properties, LLC, No. 17-3582, 2018 WL 5906904, at *2–3 (C.D. Cal. May
 22 9, 2018) (observing that the relevance of certain document requests was “somewhat
 23
 24
 25
      We have asked Plaintiff on numerous occasions to specify the particular personal
      8


 26 financial information that she is seeking in an effort to try to reach an agreement as to
 27 information that may relate to personal jurisdiction, but she has refused all attempts
    to narrow and clarify the personal financial information she is seeking, as described
 28 above in Section IV(A)(1).
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  1 diminished by . . . [their] incremental potential value” and narrowing the requests on
  2 proportionality grounds).
  3               5.     Plaintiff’s Requests for Documents and Information Relative
  4                      to Mr. Tassillo’s Jurisdictional Contacts Exceed this Court’s
  5                      Rulings
  6                      a.     Personal Trips
  7         Plaintiff’s discovery requests to the Individual Defendants (ROG No. 4, RFP
  8 Nos. 11-12) are unreasonable and inappropriate to the extent they seek documents
  9 regarding their personal contacts with California and the United States. In order to
 10 establish specific personal jurisdiction over the Individual Defendants (who live
 11 outside the United States), Plaintiff must show that they purposefully directed their
 12 activities at this jurisdiction and that her claims arose from those forum-directed
 13 activities. See AMA Multimedia LLC v. Wanat, 970 F.3d 1201, 1207 (9th Cir. 2020).
 14 Plaintiff alleges that she was harmed by MindGeek’s conduct, and the theory that
 15 Judge Carney authorized her to explore in jurisdictional discovery was whether the
 16 Individual Defendants directed or implemented MindGeek’s CSAM policies that
 17 resulted in her alleged injuries. Sack Decl. Ex. A, Dkt. No. 167 at 5-7. Plaintiff’s
 18 alleged injuries could not have arisen from the Individual Defendants’ personal
 19 contacts with the jurisdiction, so those contacts could not possibly form the basis for
 20 specific personal jurisdiction over them.
 21         Neither Interrogatory No. 4 nor Plaintiff’s RFP Nos. 11 and 12 are limited to
 22 MindGeek-related business contacts the Individual Defendants have had with this
 23 jurisdiction. Yet Plaintiff insists that the Individual Defendants must also provide
 24 information regarding purely personal contacts they may have had with the
 25 jurisdiction. 9 This position should be rejected.
 26
 27   9
       Despite our disagreement on whether personal trips are relevant, at the January 6,
      2023 meet and confer, the Individual Defendants agreed to work with MindGeek to
 28
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  1                       b.    Communications with Other Defendants Related to
  2                             this Action (RFP No. 4)
  3         Plaintiff claims that she seeks “communications with other defendants” (p. 51),
  4 but significantly fails to state that her request actually seeks communications among
  5 defendants “related to this Action.” (RFP No. 4). This request is plainly not relevant
  6 to the question of personal jurisdiction over Mr. Tassillo as it seeks communications
  7 well after the date Plaintiff’s alleged claims arose. The Amended Complaint alleges
  8 that the latest date Plaintiff’s content was on a MindGeek website was in June 2020.
  9 This Court held that only contacts occurring prior to the events causing the litigation
 10 are relevant to personal jurisdiction, as noted above. See Dkt. No. 211 at 3 (citing
 11 Farmers Ins. Exch. v. Portage La Prairie Mut. Ins. Co., 907 F.2d 911, 913 (9th Cir.
 12 1990)).
 13         Moreover, as the Individual Defendants advised Plaintiff during the January 6
 14 meet and confer, the Court struck an identical document request from Plaintiff’s
 15 proposed letters rogatory to Grant Thornton entities earlier in this case. Sack Decl.,
 16 Ex. B, Dkt. 211 at 6.       Significantly, Plaintiff herself has said in previous motion
 17 papers that these issues do not relate to personal jurisdiction, but, rather, to the merits
 18 of her claims. See Sack Decl., Ex. O, September 27, 2022 Letter from Michael J.
 19 Bowe (Plaintiff’s counsel) to Kathleen N. Massey (MindGeek’s counsel), Dkt. 224-6
 20 at 4 (noting the “communications [referenced in RFP. No. 4] are directly relevant and
 21 material to Plaintiff’s claims and Defendants are required to produce the material.”)
 22 (emphasis added).
 23
 24 see if additional information can be produced regarding Mr. Tassillo’s business trips
    to the United States during the relevant period (beyond what was provided in ROG
 25
    No. 4), including information about the trip’s date, location, and purpose. In the
 26 context of ROG No. 4, Plaintiff also requests additional detail on real property in
 27 which Mr. Tassillo had a beneficial economic interest from September 2020 to
    September 2021. Plaintiff’s request is not relevant to specific personal jurisdiction
 28 and goes well beyond the discovery permitted by Rule 26 and Judge Carney’s order.
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  1                       c.     Plaintiff Seeks Materials Beyond the Scope of
  2                              Authorized Jurisdictional Discovery (RFP No. 32 and
  3                              ROG No. 6)
  4         Plaintiff seeks from each Individual Defendant his list of contacts, without
  5 regard to whether they are business or personal, or whether they have anything at all
  6 to do with MindGeek. This request is a transparent fishing expedition and needlessly
  7 intrusive.    A person’s contacts may include family members, personal friends,
  8 doctors, clergy and other private and confidential relationships, in many jurisdictions.
  9 Even if some individuals in the contact list are nominally within this jurisdiction, the
 10 mere presence of a contact in an address book says nothing about the frequency or
 11 extent of a person’s communications with them, if any. It is also beyond the scope of
 12 the authorized jurisdictional discovery.
 13         Plaintiff has even acknowledged that this request relates to the merits of the
 14 case, not personal jurisdiction. When MindGeek objected to an identical document
 15 request for the Individual Defendants’ contact lists on the grounds that they were not
 16 related to jurisdiction, Plaintiff did not attempt to justify the request as jurisdictionally
 17 relevant. Instead, Plaintiff stated that merits discovery was permissible and argued
 18 that the information was relevant to “Plaintiff’s claims and likely to lead to additional
 19 evidence concerning the individual Defendants’ liability.” See Sack Decl., Ex. O,
 20 September 27, 2022 Letter from Michael J. Bowe (Plaintiff’s counsel) to Kathleen N.
 21 Massey (MindGeek’s counsel), Dkt. 224-6 at 5 (emphasis added).
 22         Plaintiff’s insistence on obtaining Mr. Tassillo’ s tax returns is likewise wholly
 23 unjustified. Plaintiff provides no argument to the contrary, and her cited authority,
 24 A. Farber & Partners, Inc., 234 F.R.D. at 191, demonstrates that courts perform a
 25 separate, two-step inquiry before ordering production of tax returns. In Farber, the
 26 Court ordered production of the returns because of their relevance to the plaintiff’s
 27 civil RICO claims, not personal jurisdiction. Id. It is well-established that courts “are
 28 typically reluctant to compel their disclosure because of both the private nature of the
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  1 sensitive information contained therein and the public interest in encouraging the
  2 filing by taxpayers of complete and accurate returns.” Uto v. Job Site Services Inc.,
  3 269 F.R.D. 209, 212 (E.D.N.Y. 2010); Nat. Gas Pipeline Co. of Am. V. Energy
  4 Gathering, Inc., 2 F.3d 1397, 1411 (5th Cir. 1993) (“Income tax returns are highly
  5 sensitive documents; courts are reluctant to order their routine disclosure as a part of
  6 discovery. Not only are the taxpayer’s privacy concerns at stake, but unanticipated
  7 disclosure also threatens the effective administration of our federal tax laws given the
  8 self-reporting, self-assessing character of the income tax system.”). Before courts
  9 order production of tax returns, they not only require a showing that the material is
 10 relevant, but they must also find “that there is a compelling need for the returns
 11 because the information contained therein is not otherwise readily obtainable.” A.
 12 Farber & Partners, Inc., 234 F.R.D. at 191 (quoting Hilt v. SFC, Inc., 170 F.R.D.
 13 182, 189 (D.Kan. 1997)). The relevant information—where the money flows from
 14 the MindGeek Entities—is readily obtainable from the financial records of those
 15 companies. Plaintiff’s request to compel Mr. Tassillo’s tax returns should be denied.
 16               6.     Mr. Tassillo Has Conducted a Reasonably Diligent Search
 17                      for Documents
 18         Plaintiff also mischaracterizes the search efforts of Mr. Tassillo and other
 19 Individual Defendants.      As to Mr. Tassillo, a review of the documents in his
 20 possession has been conducted. Further, as explained to Plaintiff’s counsel, three of
 21 the Individual Defendants, as former employees, no longer have access to company
 22 documents and emails.
 23         None of the Individual Defendants’ counsel represented to Plaintiff’s counsel
 24 that the Individual Defendants had not begun their search for responsive documents.
 25 Instead, counsel informed Plaintiff’s counsel that even though it was very difficult to
 26 do an appropriate search given the scope of Plaintiff’s requests, Mr. Tassillo has
 27 conducted a diligent search and is continuing to do so. When Individual Defendants’
 28 counsel sought to resolve this misunderstanding—after first becoming aware of it
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  1 through Plaintiff’s draft of this stipulation—Plaintiff’s counsel refused to correct this
  2 portion of the stipulation, which has been inaccurate since it was first served on the
  3 Individual Defendants on December 23, 2022.10 See Sack Decl., Ex I.
  4 V.      CONCLUSION
  5         A.     Plaintiff’s Conclusion
  6         For the foregoing reasons, Plaintiff respectfully requests that the Court grant
  7 this Motion in full, and order Defendant Tassillo to produce documents in response
  8 to Plaintiff’s RFPs 1-30, 32-42, 46, 49, and 52 and to supplement his responses to
  9 Plaintiff’s ROGs 2, 3, 4, and 6. As a Defendant in this action, Tassillo has the
 10 obligation to carry out a search for, and respond fully to, Plaintiff’s relevant discovery
 11 requests. Tassillo has yet to even search for responsive material, let alone carried his
 12 burden to show the disputed discovery should not be allowed. Tassillo was a senior
 13 officer and employee of the companies at the center of this litigation, and his refusal
 14 to produce even the most basic of communications concerning Plaintiff and his roles
 15 in directing, guiding, and controlling the companies for which he worked defy the
 16 Court’s previous discovery rulings and fly in the face of the Court’s specific direction
 17 for the Defendant to submit to jurisdictional discovery. Accordingly, this Court
 18 should order Defendant Tassillo to respond to the aforementioned discovery requests.
 19         B.     Defendant’s Conclusion
 20         Plaintiff brought this motion to compel without completing the required meet
 21
 22   10
        Further, despite Plaintiff’s arguments in Section III(A)(5), Mr. Tassillo is not
      withholding any documents on the basis of privacy, as counsel told Plaintiff’s counsel
 23
      during the meet and confer conference on December 15, 2022. See Sack Decl. In any
 24   event, Plaintiff misstates her own authority regarding compelled production that
      would violate a foreign blocking statute. As the court in Connex Railroad noted,
 25
      while the presence of a foreign blockings statute does not affect the Court’s power to
 26   compel production, it does require the district court to analyze the factors identified
 27   in Richmark Corp. v. Timber Falling Consultants, 959 F.2d 1468, 1475 (9th Cir.
      1992). See Connex Railroad, 2017 WL 3433542 at *12-20. In her rush to request
 28   this Court’s intervention, Plaintiff entirely elides this controlling authority.
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  1 and confer process. Further, Plaintiff has incorrectly stated that Mr. Tassillo refused
  2 to conduct a search and has ignored the diligent searches that have been conducted in
  3 regard to personal jurisdiction.    Moreover, Plaintiff improperly seeks to obtain
  4 corporate emails and records from Mr. Tassillo—who has no access to those
  5 materials—rather than the MindGeek Entities, from whom Plaintiff has sought the
  6 exact same documents and which have already made substantial productions within
  7 the proper scope of jurisdictional discovery. Her discovery requests fall well outside
  8 the bounds of what the Court has authorized for jurisdictional discovery. For the
  9 reasons stated above, Plaintiff’s motion to compel should be denied in its entirety.
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